                 Case 8:21-bk-10958-ES  Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22
                              UNITED STATES DEPARTMENT OF JUSTICE
                                                                                                                                                                     Desc
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                                              OFFICE OF THE UNITED STATES TRUSTEE
                                                CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                                 CHAPTER 11 (BUSINESS)

     PLAMEX INVESTMENT, LLC                                                            Case Number:             8:21-bk-10958-ES
                                                                                       Operating Report Number:            2
                                                                     Debtor.           For the Month Ending:      5/1/2021-5/31/2021

                                              I. CASH RECEIPTS AND DISBURSEMENTS
                                                    A. (OPERATING ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                                       0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                                            0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                               144,355.79

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing
   Accounts Receivable - Pre-filing
   General Sales
   Other (Specify)        Transfer from Rent Collection                                                        385,000.00
   **Other (Specify)      I-105 Signage income-Newbr                                                               160.00

     TOTAL RECEIPTS THIS PERIOD:                                                                                                                    385,160.00

5. BALANCE:                                                                                                                                         529,515.79

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)         0.00
   Disbursements (from page 2)                     443,700.42

     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                            443,700.42

7. ENDING BALANCE:                                                                                                                                       85,815.37

8. Operating Account Number(s):                                                        -0181
   Depository Name & Location:                                                         Axos Bank
                                                                                       (Operating Account opened on 4/15/2021)




* All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
    to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.




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                Case 8:21-bk-10958-ES   Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22
                        TOTAL DISBURSEMENTS FROM OPERATING ACCOUNT FOR CURRENT PERIOD
                                                                                                                                              Desc
                                         Main Document     Page 2 of 61
   Date             Check          Payee or DIP                                                          *Amount                **Amount
 mm/dd/yyyy        Number             account                            Purpose                        Transfered              Disbursed      Amount

                                                         Total Month of May checks issued                                                       443,700.42




                                            TOTAL DISBURSEMENTS THIS PERIOD:                                      0.00                 0.00    $443,700.42
* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.



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                             Case 8:21-bk-10958-ES               Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                          Desc
                                                                  Main Document    Page 3 of 61
Database:    MDPROPERTIES                                                         Check Register                                                   Page:             1
BANK:        PMDIP-02                                                             M+D Properties                                                   Date:     6/16/2021
                                                                                    Axos Bank                                                      Time:     12:12 PM

                                                                                05/21 Through 05/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                    Invoice          Discount     Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date          Due Date     Amount            Amount     Amount


52           5/12/2021       05/21     ABZPESTC           ABZ Pest Control
 200PMO     Bird Control 04/21                            50600-0000         474326                   4/19/2021    4/19/2021        91.40            0.00      91.40

                                                                                                                  Check Total:      91.40            0.00      91.40

53           5/12/2021       05/21     ABZPESTC           ABZ Pest Control
 200PML     Bird Control 04/21                            50600-0000         474327                   4/19/2021    4/19/2021      134.60             0.00     134.60

                                                                                                                  Check Total:    134.60             0.00     134.60

54           5/12/2021     05/21       ATT                AT&T
 200PMI     631-0048 Elev 4/11-5/10/21                    51650-0000         0048-041121              4/11/2021    4/11/2021      109.33             0.00     109.33

                                                                                                                  Check Total:    109.33             0.00     109.33

55           5/12/2021     05/21       ATT                AT&T
 200PML     639-0184 3200 4/4-5/3/21                      51650-0000         0184-040421.             4/4/2021     4/4/2021       299.85             0.00     299.85

                                                                                                                  Check Total:    299.85             0.00     299.85

57           5/12/2021     05/21       ATT                AT&T
 200PMO     609-1154 Elev 4/19-5/18/21                    51650-0000         1154-041921              4/19/2021    4/19/2021      109.38             0.00     109.38

                                                                                                                  Check Total:    109.38             0.00     109.38

58           5/12/2021     05/21       ATT                AT&T
 200PML     604-1580 Signage 4/8-5/7/21                   50700-0000         1580-040821.             4/8/2021     4/8/2021       107.20             0.00     107.20

                                                                                                                  Check Total:    107.20             0.00     107.20

59           5/12/2021    05/21       ATT                 AT&T
 200PMO     632-3606 105Fwy 4/26-5/25/21                  53610-0000         3606-042621              4/26/2021    4/26/2021      114.01             0.00     114.01

                                                                                                                  Check Total:    114.01             0.00     114.01

60           5/12/2021     05/21      ATT                 AT&T
 200PMO     605-5107 3150 4/10-5/9/21                     51650-0000         5107-041021              4/10/2021    4/10/2021      181.29             0.00     181.29

                                                                                                                  Check Total:    181.29             0.00     181.29

61           5/12/2021     05/21     ATT                  AT&T
 200PMC     631-6789 PM 4/11-5/10/21                      72220-0000         6789-041121              4/11/2021    4/11/2021      378.39             0.00     378.39
                             Case 8:21-bk-10958-ES                Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                                 Desc
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Database:    MDPROPERTIES                                                          Check Register                                                          Page:              2
BANK:        PMDIP-02                                                              M+D Properties                                                          Date:      6/16/2021
                                                                                     Axos Bank                                                             Time:      12:12 PM

                                                                                 05/21 Through 05/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                  Invoice                           Invoice          Discount       Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number            Date          Due Date            Amount            Amount       Amount



                                                                                                                   Check Total:            378.39            0.00      378.39

62           5/12/2021    05/21      ATT                  AT&T
 200PML     884-9694 105FWY 4/20-5/19/21                  53610-0000         9694-041721               4/17/2021    4/17/2021              104.47            0.00      104.47

                                                                                                                   Check Total:            104.47            0.00      104.47

63           5/12/2021     05/21      ATT                 AT&T
 200PMO     608-0668 Signage 4/20-5/19/21                 50700-0000         OUT-042021                4/20/2021    4/20/2021              107.28            0.00      107.28
 200PMO     764-5420 Signage 4/20-5/19/21                 50700-0000         OUT-042021                4/20/2021    4/20/2021               72.88            0.00       72.88

                                                                                                                   Check Total:            180.16            0.00      180.16

64           5/12/2021      05/21        BETTERBE         Better & Best Building Service Inc
 200PMI     Arcade 2nd Flr Buffing 03/21                  22620-0000          12300.                   3/15/2021    3/15/2021              140.00            0.00      140.00

                                                                                                                   Check Total:            140.00            0.00      140.00

65           5/12/2021       05/21     BETTERBE           Better & Best Building Service Inc
 200PMI     Janitorial 03/21                              22620-0000          12301.                   3/15/2021    3/15/2021            5,083.00            0.00     5,083.00

                                                                                                                   Check Total:          5,083.00            0.00     5,083.00

66           5/12/2021       05/21     BETTERBE           Better & Best Building Service Inc
 200PML     Janitorial 03/21                              22620-0000          12302.                   3/15/2021    3/15/2021            9,223.00            0.00     9,223.00
 200PML     Sweeping 03/21                                22620-0000          12302.                   3/15/2021    3/15/2021            1,312.00            0.00     1,312.00
 200PML     PressureWash 03/21                            22620-0000          12302.                   3/15/2021    3/15/2021              600.00            0.00       600.00

                                                                                                                   Check Total:         11,135.00            0.00    11,135.00

67           5/12/2021      05/21      BETTERBE           Better & Best Building Service Inc                        Unused - Continued Check
 200PMO     Carried to 68                                 22620-0000          12303.                   3/15/2021    3/15/2021                0.00            0.00         0.00

                                                                                                                   Check Total:              0.00            0.00         0.00

69           5/12/2021      05/21        BETTERBE         Better & Best Building Service Inc
 200PMI     Arcade 2nd Flr Buffing 04/21                  51010-0000          12309                    4/15/2021    4/15/2021              140.00            0.00      140.00

                                                                                                                   Check Total:            140.00            0.00      140.00

70           5/12/2021      05/21      BETTERBE           Better & Best Building Service Inc
                               Case 8:21-bk-10958-ES                 Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                          Desc
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Database:    MDPROPERTIES                                                               Check Register                                                 Page:              3
BANK:        PMDIP-02                                                                   M+D Properties                                                 Date:      6/16/2021
                                                                                          Axos Bank                                                    Time:      12:12 PM

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                                          Vendor/Alternate
 Check #     Check Date        Check Pd   Address ID         Vendor Name                                  Invoice                    Invoice          Discount       Check
Entity       Reference                     P.O. Number       Account Number     Invoice Number            Date          Due Date     Amount            Amount       Amount


200PMI      Janitorial 04/21                                 51010-0000         12310                     4/15/2021    4/15/2021      5,083.00           0.00     5,083.00

                                                                                                                      Check Total:    5,083.00           0.00     5,083.00

71           5/12/2021       05/21        BETTERBE           Better & Best Building Service Inc
 200PML     Janitorial 04/21                                 51010-0000          12311                    4/15/2021    4/15/2021      9,223.00           0.00     9,223.00
 200PML     Sweeping 04/21                                   50400-0000          12311                    4/15/2021    4/15/2021      1,312.00           0.00     1,312.00
 200PML     PressureWash 04/21                               50410-0000          12311                    4/15/2021    4/15/2021        600.00           0.00       600.00

                                                                                                                      Check Total:   11,135.00           0.00    11,135.00

72           5/12/2021       05/21        BETTERBE           Better & Best Building Service Inc
 200PMO     Janitorial 04/21                                 51010-0000          12312                    4/15/2021    4/15/2021     24,321.96           0.00    24,321.96
 200PMI     Janitorial 04/21                                 51010-0000          12312                    4/15/2021    4/15/2021     14,217.04           0.00    14,217.04
 200PMI     Sweeping 04/21                                   50400-0000          12312                    4/15/2021    4/15/2021        806.78           0.00       806.78
 200PMO     Sweeping 04/21                                   50400-0000          12312                    4/15/2021    4/15/2021      1,380.22           0.00     1,380.22
 200PMI     PressureWash 04/21                               50410-0000          12312                    4/15/2021    4/15/2021        885.36           0.00       885.36
 200PMO     PressureWash 04/21                               50410-0000          12312                    4/15/2021    4/15/2021      1,514.64           0.00     1,514.64

                                                                                                                      Check Total:   43,126.00           0.00    43,126.00

73           5/12/2021      05/21         BROADSIG           Broadsign International Inc.
 200PMO     Subscription 4/2021                              50930-0000         INV00029190               4/30/2021    4/30/2021       431.25            0.00      431.25

                                                                                                                      Check Total:     431.25            0.00      431.25

74           5/12/2021      05/21       CALISANI             California Sanitary Supply
 200PMC     Hand Sanitizer & dispensers                      73020-0000          237630                   4/26/2021    4/26/2021       704.09            0.00      704.09

                                                                                                                      Check Total:     704.09            0.00      704.09

75           5/12/2021     05/21          CERVANRO           Roberto Cervantes
 200PMO     Chain Saw Parts                                  50510-0000        04.16.21                   4/16/2021    4/16/2021       141.00            0.00      141.00

                                                                                                                      Check Total:     141.00            0.00      141.00

76           5/12/2021     05/21          CONTEMPO           Contemporary Information Corp.
 200PMI     PM Credit checks                                 73400-0000        547620                     4/29/2021    4/29/2021        40.00            0.00       40.00

                                                                                                                      Check Total:      40.00            0.00       40.00

77           5/12/2021         05/21      DELACRRA           Raymond Aurelio De La Cruz
                             Case 8:21-bk-10958-ES                Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                          Desc
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Database:    MDPROPERTIES                                                         Check Register                                                    Page:              4
BANK:        PMDIP-02                                                             M+D Properties                                                    Date:      6/16/2021
                                                                                    Axos Bank                                                       Time:      12:12 PM

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                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                     Invoice          Discount       Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date           Due Date     Amount            Amount       Amount


200PML      Grease Trap Pumping                           51660-0000         112720-01                11/27/2020    11/27/2020      875.00            0.00      875.00

                                                                                                                   Check Total:     875.00            0.00      875.00

78           5/12/2021      05/21      DELAWSEC           Delaware Secretary of State
 200PMC     2020 LLC Tax                                  78950-0060         5016620-2020             4/27/2021     6/1/2021        300.00            0.00      300.00

                                                                                                                   Check Total:     300.00            0.00      300.00

79           5/12/2021    05/21        EPAXSYST           Epax Systems, Inc.
 200PMO     30YD Trash Comp 04/21                         52180-0000         27505.                   4/1/2021      4/1/2021        414.00            0.00      414.00
 200PMI     30YD Trash Comp 04/21                         52180-0000         27505.                   4/1/2021      4/1/2021        241.99            0.00      241.99

                                                                                                                   Check Total:     655.99            0.00      655.99

80           5/12/2021   05/21         FEDEEXPR           Federal Express Corp.
 200PMC     PM CT Corp BK11 Docs                          73530-0000        7-341-58588               4/16/2021     4/16/2021       372.68            0.00      372.68

                                                                                                                   Check Total:     372.68            0.00      372.68

81           5/12/2021    05/21        FIRSTINS           First Insurance Funding Corp.
 200PMI     PM 20-21 EQ Insurance                         19310-0000         04.16.21                 4/16/2021     5/5/2021       2,768.10           0.00     2,768.10
 200PML     PM 20-21 EQ Insurance                         19310-0000         04.16.21                 4/16/2021     5/5/2021       5,219.34           0.00     5,219.34
 200PMO     PM 20-21 EQ Insurance                         19310-0000         04.16.21                 4/16/2021     5/5/2021       5,289.82           0.00     5,289.82

                                                                                                                   Check Total:   13,277.26           0.00    13,277.26

82           5/12/2021     05/21      GASCOMPA            The Gas Company
 200PMI     MainBldg Gas 3/17-4/15/21                     52140-0000      04.19.21                    4/19/2021     4/19/2021       576.83            0.00      576.83

                                                                                                                   Check Total:     576.83            0.00      576.83

83           5/12/2021       05/21     GTOSECUR           GTO Security
 200PML     Security 3/16-3/31/21                         50110-0000         PILTC033121.             3/31/2021     3/31/2021      7,104.00           0.00     7,104.00

                                                                                                                   Check Total:    7,104.00           0.00     7,104.00

84           5/12/2021       05/21     GTOSECUR           GTO Security
 200PML     Security 4/1-4/15/21                          50110-0000         PILTC041521              4/15/2021     4/15/2021      6,641.50           0.00     6,641.50

                                                                                                                   Check Total:    6,641.50           0.00     6,641.50
                             Case 8:21-bk-10958-ES               Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                          Desc
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Database:    MDPROPERTIES                                                            Check Register                                                Page:              5
BANK:        PMDIP-02                                                                M+D Properties                                                Date:      6/16/2021
                                                                                       Axos Bank                                                   Time:      12:12 PM

                                                                               05/21 Through 05/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                    Invoice          Discount       Check
Entity       Reference                  P.O. Number       Account Number    Invoice Number            Date          Due Date     Amount            Amount       Amount


85           5/12/2021       05/21     GTOSECUR           GTO Security
 200PMO     Security 3/16-3/31/21                         52180-0000        PIPME033121.              3/31/2021    3/31/2021     17,818.48           0.00    17,818.48
 200PMI     Security 3/16-3/31/21                         52180-0000        PIPME033121.              3/31/2021    3/31/2021     10,415.52           0.00    10,415.52

                                                                                                                  Check Total:   28,234.00           0.00    28,234.00

86           5/12/2021       05/21     GTOSECUR           GTO Security
 200PMO     Security 4/1-4/15/21                          50110-0000        PIPME041521               4/15/2021    4/15/2021     18,525.31           0.00    18,525.31
 200PMI     Security 4/1-4/15/21                          50110-0000        PIPME041521               4/15/2021    4/15/2021     10,828.69           0.00    10,828.69

                                                                                                                  Check Total:   29,354.00           0.00    29,354.00

87           5/12/2021      05/21      HOMEDEPO           Home Depot Credit Services
 200PMO     Concrete to rep potholes                      50220-0000        613322874                 4/24/2021    4/24/2021       423.96            0.00      423.96

                                                                                                                  Check Total:     423.96            0.00      423.96

88           5/12/2021       05/21        HOMEDEPO        Home Depot Credit Services
 200PML     Fix water leak by star buffet                 51630-0000        613615210                 4/27/2021    4/27/2021        41.50            0.00       41.50

                                                                                                                  Check Total:      41.50            0.00       41.50

89           5/12/2021      05/21     K9FINANC            K-9 Financial, LLC
 200PMO     CV-04 Vertical Comp 04/21                     52180-0000         17959                    4/1/2021     4/1/2021        214.99            0.00      214.99

                                                                                                                  Check Total:     214.99            0.00      214.99

90           5/12/2021      05/21       KIMCONNI          Connie Sunmi Kim
 200PMC     Mr. Donald meetings                           70410-0000       PC-042721                  4/27/2021    4/27/2021       228.21            0.00      228.21
 200PMC     MAF Meeting                                   70280-0010       PC-042721                  4/27/2021    4/27/2021        65.33            0.00       65.33
 200PMO     Key Copies - Electrical rooms                 51130-0000       PC-042721                  4/27/2021    4/27/2021       180.00            0.00      180.00

                                                                                                                  Check Total:     473.54            0.00      473.54

94           5/12/2021   05/21         KONE               Kone Inc.
 200PMO     OUT_Pass & Esc 03/21                          51550-0000        959798026.                3/1/2021     3/1/2021       2,389.69           0.00     2,389.69

                                                                                                                  Check Total:    2,389.69           0.00     2,389.69

95           5/12/2021     05/21       KONE               Kone Inc.
 200PML     N6_Pass Elev 03/21                            51550-0000        959798027.                3/1/2021     3/1/2021        464.81            0.00      464.81
                           Case 8:21-bk-10958-ES                 Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                         Desc
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Database:    MDPROPERTIES                                                        Check Register                                                   Page:             6
BANK:        PMDIP-02                                                            M+D Properties                                                   Date:     6/16/2021
                                                                                   Axos Bank                                                      Time:     12:12 PM

                                                                               05/21 Through 05/21

                                      Vendor/Alternate
 Check #     Check Date    Check Pd   Address ID         Vendor Name                                 Invoice                    Invoice          Discount      Check
Entity       Reference                 P.O. Number       Account Number     Invoice Number           Date          Due Date     Amount            Amount      Amount



                                                                                                                 Check Total:    464.81             0.00     464.81

96            5/12/2021    05/21      KONE               Kone Inc.
 200PMI     IN_Pass & Esc 03/21                          51550-0000        959798028.                3/1/2021     3/1/2021      3,562.05            0.00    3,562.05

                                                                                                                 Check Total:   3,562.05            0.00    3,562.05

97           5/12/2021   05/21        KONE               Kone Inc.
 200PMO     OUT_Pass & Esc 04/21                         51550-0000        959824358                 4/1/2021     4/1/2021      2,389.69            0.00    2,389.69

                                                                                                                 Check Total:   2,389.69            0.00    2,389.69

98           5/12/2021     05/21      KONE               Kone Inc.
 200PML     N6_Pass Elev 04/21                           51550-0000        959824359                 4/1/2021     4/1/2021       464.81             0.00     464.81

                                                                                                                 Check Total:    464.81             0.00     464.81

99            5/12/2021    05/21      KONE               Kone Inc.
 200PMI     IN_Pass & Esc 04/21                          51550-0000        959824360                 4/1/2021     4/1/2021      3,562.05            0.00    3,562.05

                                                                                                                 Check Total:   3,562.05            0.00    3,562.05

111          5/12/2021      05/21       OFFICENT         Officenet, Inc.
 200PMC     2 Copiers Maint 3/25-4/24/21                 22620-0000        IN56439.                  3/31/2021    3/31/2021      136.88             0.00     136.88

                                                                                                                 Check Total:    136.88             0.00     136.88

112          5/12/2021      05/21       OFFICENT         Officenet, Inc.
 200PMC     2 Copiers Maint 4/25-5/24/21                 73050-0000        IN56797                   4/28/2021    4/28/2021      136.88             0.00     136.88
 200PMC     Overage Chg 3/25-4/24/21                     73050-0000        IN56797                   4/28/2021    4/28/2021      204.30             0.00     204.30

                                                                                                                 Check Total:    341.18             0.00     341.18

113          5/12/2021      05/21      POINTEXT          Point Exterminators Inc
 200PMI     COVID-19 svc for office                      22620-0000         26524.                   3/23/2021    3/23/2021      150.00             0.00     150.00
 200PMI     COVID-19 disinfection                        72530-0000         27567                    4/5/2021     4/5/2021       150.00             0.00     150.00
 200PMI     COVID-19 disinfection                        72530-0000         27635                    4/20/2021    4/20/2021      150.00             0.00     150.00
 200PMO     Pest Control 3/10/21                         22620-0000         26497.                   3/10/2021    3/10/2021       50.00             0.00      50.00
 200PMO     LA Care Pest Control 3/10/21                 22620-0000         26498.                   3/10/2021    3/10/2021       50.00             0.00      50.00
                             Case 8:21-bk-10958-ES               Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                          Desc
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Database:    MDPROPERTIES                                                            Check Register                                                Page:             7
BANK:        PMDIP-02                                                                M+D Properties                                                Date:     6/16/2021
                                                                                       Axos Bank                                                   Time:     12:12 PM

                                                                                05/21 Through 05/21

                                       Vendor/Alternate
 Check #     Check Date     Check Pd   Address ID         Vendor Name                                 Invoice                    Invoice          Discount      Check
Entity       Reference                  P.O. Number       Account Number     Invoice Number           Date          Due Date     Amount            Amount      Amount



                                                                                                                  Check Total:    550.00             0.00     550.00

115          5/12/2021     05/21       POINTEXT           Point Exterminators Inc
 200PMI     COVID-19 svc for office                       22620-0000         26483.                   3/3/2021     3/3/2021       150.00             0.00     150.00

                                                                                                                  Check Total:    150.00             0.00     150.00

116          5/12/2021     05/21       POINTEXT           Point Exterminators Inc
 200PML     LTC Pest Control 3/10/21                      22620-0000         26496.                   3/10/2021    3/10/2021      150.00             0.00     150.00

                                                                                                                  Check Total:    150.00             0.00     150.00

117          5/12/2021      05/21      POINTEXT           Point Exterminators Inc
 200PMI     Pest Control 3/30/21                          22620-0000         26538.                   3/30/2021    3/30/2021      660.00             0.00     660.00

                                                                                                                  Check Total:    660.00             0.00     660.00

118          5/12/2021      05/21      POINTEXT           Point Exterminators Inc
 200PMI     Pest Control 4/28/21                          50600-0000         27654                    4/28/2021    4/28/2021      660.00             0.00     660.00

                                                                                                                  Check Total:    660.00             0.00     660.00

119          5/12/2021      05/21     REGENFSS            Regency Fire & Security Services
 200PMI     3100 Fire Monitor Q2'2021                     51640-0000        2212542.                  4/1/2021     4/1/2021       135.00             0.00     135.00
 200PMI     3100 GSM Svc Q2'2021                          51650-0000        2212542.                  4/1/2021     4/1/2021        75.00             0.00      75.00

                                                                                                                  Check Total:    210.00             0.00     210.00

120          5/12/2021      05/21      REGENFSS           Regency Fire & Security Services
 200PML     LTC Fire Monitor Q2'2021                      51640-0000        2212543.                  4/1/2021     4/1/2021       810.00             0.00     810.00
 200PML     LTC GSM Svc Q2'2021                           51650-0000        2212543.                  4/1/2021     4/1/2021       450.00             0.00     450.00

                                                                                                                  Check Total:   1,260.00            0.00    1,260.00

121          5/12/2021     05/21       REGENFSS           Regency Fire & Security Services
 200PMO     OUT Fire Monitor Q2'2021                      51640-0000        2212544.                  4/1/2021     4/1/2021       405.00             0.00     405.00
 200PMO     OUT GSM Svc Q2'2021                           51650-0000        2212544.                  4/1/2021     4/1/2021       225.00             0.00     225.00

                                                                                                                  Check Total:    630.00             0.00     630.00

122          5/12/2021      05/21      REGENFSS/NEW Regency Fire & Security Services
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200PML      Repl old GSM Radio                            51720-0000         13061                    4/7/2021     4/7/2021        615.00            0.00      615.00

                                                                                                                  Check Total:     615.00            0.00      615.00

123          5/12/2021     05/21       RODRIGJO           Jose Rodriguez
 200PMO     Landscaping 03/21                             22620-0000         03.31.21                 3/31/2021    3/31/2021      1,000.00           0.00     1,000.00
 200PML     Landscaping 03/21                             22620-0000         03.31.21                 3/31/2021    3/31/2021      1,000.00           0.00     1,000.00

                                                                                                                  Check Total:    2,000.00           0.00     2,000.00

124          5/12/2021     05/21       RODRIGJO           Jose Rodriguez
 200PMO     Landscaping 04/21                             50500-0000         04.30.21                 4/30/2021    4/30/2021      1,000.00           0.00     1,000.00
 200PML     Landscaping 04/21                             50500-0000         04.30.21                 4/30/2021    4/30/2021      1,000.00           0.00     1,000.00

                                                                                                                  Check Total:    2,000.00           0.00     2,000.00

125          5/12/2021     05/21       SMARDANS           SMARDAN SUPPLY CO.
 200PML     new Hydrant Valve                             51720-0000    S3665688.001                  4/23/2021    4/23/2021       223.06            0.00      223.06

                                                                                                                  Check Total:     223.06            0.00      223.06

126          5/12/2021     05/21       SOCALEDI           So. Cal. Edison Co.
 200PMO     P2_3170 3/22-4/21/21                          52120-0000          2472-042221             4/22/2021    4/22/2021      1,772.93           0.00     1,772.93
 200PMO     P1_Imp Sign 3/22-4/21/21                      52110-0000          2472-042221             4/22/2021    4/22/2021      2,816.35           0.00     2,816.35
 200PMI     P1_Imp Sign 3/22-4/21/21                      52110-0000          2472-042221             4/22/2021    4/22/2021      1,646.25           0.00     1,646.25

                                                                                                                  Check Total:    6,235.53           0.00     6,235.53

127          5/12/2021    05/21      SOCALEDI             So. Cal. Edison Co.
 200PMI     700597511758 3100 3/21-4/20/21                52130-0000          3100-042121             4/21/2021    4/21/2021     26,018.94           0.00    26,018.94

                                                                                                                  Check Total:   26,018.94           0.00    26,018.94

128          5/12/2021    05/21       SOCALEDI            So. Cal. Edison Co.
 200PMO     225470-6732 Park 2/22-3/21/21                 22620-0000          6732-032221.            3/22/2021    3/22/2021       459.01            0.00      459.01
 200PMI     225470-6732 Park 2/22-3/21/21                 22620-0000          6732-032221.            3/22/2021    3/22/2021       268.30            0.00      268.30

                                                                                                                  Check Total:     727.31            0.00      727.31

129          5/12/2021    05/21       SOCALEDI            So. Cal. Edison Co.
 200PMO     236390-6868 #201 2/22-3/21/21                 22620-0000          6868-032221.            3/22/2021    3/22/2021      1,073.98           0.00     1,073.98
 200PMO     236390-6868 #200 2/22-3/21/21                 22620-0000          6868-032221.            3/22/2021    3/22/2021        351.63           0.00       351.63
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200PMO      236390-6868 #203 2/22-3/21/21                  22620-0000         6868-032221.             3/22/2021    3/22/2021               87.82            0.00       87.82
200PMO      236390-6868 Late Fee                           22620-0000         6868-032221.             3/22/2021    3/22/2021               10.36            0.00       10.36

                                                                                                                   Check Total:          1,523.79            0.00     1,523.79

130          5/12/2021    05/21       SOCALEDI             So. Cal. Edison Co.
 200PMI     202310-6925 3100 2/22-3/21/21                  22620-0000          6925-032721.            3/27/2021    3/27/2021           21,393.56            0.00    21,393.56
 200PMI     202310-6925 3100 2/22-3/21/21                  22620-0000          6925-032721.            3/27/2021    3/27/2021              134.31            0.00       134.31

                                                                                                                   Check Total:         21,527.87            0.00    21,527.87

131          5/12/2021     05/21        SOCALEDI           So. Cal. Edison Co.
 200PMO     P2_3170 2/23-3/22/21                           22620-0000          7926-032621.            3/26/2021    3/26/2021            1,638.61            0.00     1,638.61
 200PMO     P1_Imp Sign 2/23-3/22/21                       22620-0000          7926-032621.            3/26/2021    3/26/2021            2,346.32            0.00     2,346.32
 200PMI     P1_Imp Sign 2/23-3/22/21                       22620-0000          7926-032621.            3/26/2021    3/26/2021            1,371.50            0.00     1,371.50
 200PMO     224584-7926 Late Fee                           22620-0000          7926-032621.            3/26/2021    3/26/2021               37.08            0.00        37.08

                                                                                                                   Check Total:          5,393.51            0.00     5,393.51

132          5/12/2021    05/21      SOCALEDI              So. Cal. Edison Co.
 200PMO     700128787954 1210 3/21-4/20/21                 72710-0010          7954-042121             4/21/2021    4/21/2021              105.17            0.00      105.17

                                                                                                                   Check Total:            105.17            0.00      105.17

133          5/12/2021    05/21      SOCALEDI              So. Cal. Edison Co.
 200PMO     700611698212 #201 3/21-4/20/21                 72710-0010          8212-042121             4/21/2021    4/21/2021            1,354.43            0.00     1,354.43
 200PMO     700611698212 #200 3/21-4/20/21                 72710-0010          8212-042121             4/21/2021    4/21/2021              461.59            0.00       461.59
 200PMO     700611698212 #203 3/21-4/20/21                 72710-0010          8212-042121             4/21/2021    4/21/2021              156.09            0.00       156.09

                                                                                                                   Check Total:          1,972.11            0.00     1,972.11

134          5/12/2021       05/21      SOCALEDI           So. Cal. Edison Co.                                      Unused - Continued Check
 200PML     Carried to 135                                 22620-0000          LTC-032221.             3/22/2021    3/22/2021                0.00            0.00         0.00

                                                                                                                   Check Total:              0.00            0.00         0.00

135          5/12/2021    05/21       SOCALEDI             So. Cal. Edison Co.
 200PML     227840-4629 11217 2/22-3/21/21                 22620-0000          LTC-032221.             3/22/2021    3/22/2021               68.71            0.00       68.71
 200PML     226512-1558 11221 2/22-3/21/21                 22620-0000          LTC-032221.             3/22/2021    3/22/2021              335.12            0.00      335.12
 200PML     226643-7391 11225 2/22-3/21/21                 22620-0000          LTC-032221.             3/22/2021    3/22/2021              160.57            0.00      160.57
 200PML     225846-7562 11247 2/22-3/21/21                 22620-0000          LTC-032221.             3/22/2021    3/22/2021              534.78            0.00      534.78
 200PML     220625-4153 11329 2/22-3/21/21                 22620-0000          LTC-032221.             3/22/2021    3/22/2021               83.90            0.00       83.90
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200PML      227004-9570 11369 2/22-3/21/21               22620-0000        LTC-032221.               3/22/2021    3/22/2021       104.57            0.00      104.57
200PML      220625-4294 Park 2/22-3/21/21                22620-0000        LTC-032221.               3/22/2021    3/22/2021     1,539.72            0.00    1,539.72
200PML      220625-4294 Park 2/22-3/21/21                22620-0000        LTC-032221.               3/22/2021    3/22/2021        11.05            0.00       11.05

                                                                                                                 Check Total:   2,838.42            0.00    2,838.42

136          5/12/2021    05/21       SOCALEDI           So. Cal. Edison Co.
 200PML     700553471839 11217 3/21-4/20/2               52120-0000          LTC-042121              4/21/2021    4/21/2021        75.94            0.00       75.94
 200PML     700093978593_11221 3/21-4/20/2               52120-0000          LTC-042121              4/21/2021    4/21/2021       364.95            0.00      364.95
 200PML     700243254119_11225 3/21-4/20/2               52120-0000          LTC-042121              4/21/2021    4/21/2021       190.85            0.00      190.85
 200PML     700616416048_11247 3/21-4/20/2               52120-0000          LTC-042121              4/21/2021    4/21/2021       578.61            0.00      578.61
 200PML     700523189045_11329 3/21-4/20/2               52120-0000          LTC-042121              4/21/2021    4/21/2021        88.88            0.00       88.88
 200PML     700551674006_11369 3/21-4/20/2               52120-0000          LTC-042121              4/21/2021    4/21/2021       114.32            0.00      114.32
 200PML     700523238959 Park 3/21-4/20/21               52120-0000          LTC-042121              4/21/2021    4/21/2021     1,604.58            0.00    1,604.58

                                                                                                                 Check Total:   3,018.13            0.00    3,018.13

137          5/12/2021    05/21      SOCALEDI            So. Cal. Edison Co.
 200PML     700432206984 N6 3/12-4/11/21                 52120-0000          N6-041321               4/13/2021    4/13/2021      422.66             0.00     422.66

                                                                                                                 Check Total:    422.66             0.00     422.66

138          5/12/2021    05/21       SOCALEDI           So. Cal. Edison Co.
 200PMO     225487-4613 3150 2/22-3/21/21                22620-0000          OUT-032221.             3/22/2021    3/22/2021     1,007.39            0.00    1,007.39
 200PMO     225952-2407 3160 2/22-3/21/21                22620-0000          OUT-032221.             3/22/2021    3/22/2021       121.37            0.00      121.37
 200PMO     223417-7277 3180 2/22-3/21/21                22620-0000          OUT-032221.             3/22/2021    3/22/2021       314.19            0.00      314.19
 200PMO     225470-7029 Prod 2/22-3/21/21                22620-0000          OUT-032221.             3/22/2021    3/22/2021     3,763.68            0.00    3,763.68
 200PMO     225470-7029 Prod 2/22-3/21/21                22620-0000          OUT-032221.             3/22/2021    3/22/2021        25.66            0.00       25.66

                                                                                                                 Check Total:   5,232.29            0.00    5,232.29

139          5/12/2021    05/21       SOCALEDI           So. Cal. Edison Co.
 200PMO     700378722703 3160 3/21-4/20/21               52120-0000          OUT-042121              4/21/2021    4/21/2021       141.69            0.00      141.69
 200PMO     700440651846 3180 3/21-4/20/21               52120-0000          OUT-042121              4/21/2021    4/21/2021       369.90            0.00      369.90
 200PMO     700262683219 Prod 3/21-4/20/21               72710-0010          OUT-042121              4/21/2021    4/21/2021     4,499.32            0.00    4,499.32

                                                                                                                 Check Total:   5,010.91            0.00    5,010.91

140          5/12/2021    05/21       SOCALEDI           So. Cal. Edison Co.
 200PMO     700261538417 Park 3/21-4/20/21               52100-0000          PARK-042121             4/21/2021    4/21/2021      634.65             0.00     634.65
 200PMI     700261538417 Park 3/21-4/20/21               52100-0000          PARK-042121             4/21/2021    4/21/2021      370.98             0.00     370.98
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                                                                                                                   Check Total:          1,005.63            0.00    1,005.63

141          5/12/2021    05/21      SPECTRIO              Spectrio
 200PMI     Message On Hold Qtrly Updates                  51670-0000         1196915                  4/19/2021    4/19/2021               36.18            0.00      36.18

                                                                                                                   Check Total:             36.18            0.00      36.18

142          5/12/2021      05/21       SUNPACCO           SUN PAC CONTAINERS
 200PMO     22' Storage Container 04/21                    72530-0000     3621102                      4/1/2021     4/1/2021                77.00            0.00      77.00
 200PMO     26' Storage Container 04/21                    72530-0000     3621103                      4/1/2021     4/1/2021                97.00            0.00      97.00

                                                                                                                   Check Total:            174.00            0.00     174.00

143          5/12/2021     05/21        TRICHEMT           Tri-Chem Technology, Corp.
 200PMI     Wtr Treatment Svc 04/21                        51600-0000       67687                      4/13/2021    4/13/2021              200.00            0.00     200.00

                                                                                                                   Check Total:            200.00            0.00     200.00

144          5/12/2021      05/21       VERISONW           Verizon Wireless
 200PMO     PM Billboard 3/23-4/22/21                      50930-0000         9878232719               4/22/2021    5/14/2021               60.08            0.00      60.08

                                                                                                                   Check Total:             60.08            0.00      60.08

145          5/12/2021       05/21      WASTERES           Waste Resources, Inc.                                    Unused - Continued Check
 200PML     Carried to 147                                 52180-0000        0001426597.               3/1/2021     3/1/2021                 0.00            0.00        0.00

                                                                                                                   Check Total:              0.00            0.00        0.00

146          5/12/2021       05/21      WASTERES           Waste Resources, Inc.                                    Unused - Continued Check
 200PML     Carried to 147                                 52180-0000        0001426597.               3/1/2021     3/1/2021                 0.00            0.00        0.00

                                                                                                                   Check Total:              0.00            0.00        0.00

147          5/12/2021    05/21         WASTERES           Waste Resources, Inc.
 200PML     024758 11337 03/21                             52180-0000        0001426597.               3/1/2021     3/1/2021               478.40            0.00     478.40
 200PML     024759 11391 03/21                             52180-0000        0001426598.               3/1/2021     3/1/2021               478.40            0.00     478.40
 200PML     024760 11215 03/21                             52180-0000        0001426599.               3/1/2021     3/1/2021               538.28            0.00     538.28
 200PML     024760 11247 03/21                             52180-0000        0001426600.               3/1/2021     3/1/2021               478.40            0.00     478.40
 200PML     024760 11301 03/21                             52180-0000        0001426601.               3/1/2021     3/1/2021               478.40            0.00     478.40
 200PML     024760 11331 03/21                             52180-0000        0001426602.               3/1/2021     3/1/2021               478.40            0.00     478.40
 200PML     024758 11337 04/21                             52180-0000        0001442877                4/1/2021     4/1/2021               478.40            0.00     478.40
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200PML      024759 11391 04/21                           52180-0000       0001442878                4/1/2021     4/1/2021       478.40             0.00     478.40
200PML      024760 11215 04/21                           52180-0000       0001442879                4/1/2021     4/1/2021       538.28             0.00     538.28
200PML      024760 11331 04/21                           52180-0000       0001442882                4/1/2021     4/1/2021       478.40             0.00     478.40
200PML      024760 11247 04/21                           52180-0000       0001442880                4/1/2021     4/1/2021       478.40             0.00     478.40
200PML      024760 11247 04/21                           73400-0000       0001442880                4/1/2021     4/1/2021         0.41             0.00       0.41
200PML      024760 11331 04/21                           73400-0000       0001442882                4/1/2021     4/1/2021         0.48             0.00       0.48
200PML      024760 11215 04/21                           73400-0000       0001442879                4/1/2021     4/1/2021         0.42             0.00       0.42
200PML      024759 11391 04/21                           52180-0000       0001442878                4/1/2021     4/1/2021         0.43             0.00       0.43
200PML      024758 11337 04/21                           73400-0000       0001442877                4/1/2021     4/1/2021         0.43             0.00       0.43

                                                                                                                Check Total:   5,384.33            0.00    5,384.33

150          5/12/2021     05/21      WASTERES           Waste Resources, Inc.
 200PMO     028432 3102 03/21                            52180-0000        0001426733.              3/1/2021     3/1/2021      2,420.72            0.00    2,420.72

                                                                                                                Check Total:   2,420.72            0.00    2,420.72

151          5/12/2021     05/21      WASTERES           Waste Resources, Inc.
 200PMO     028433 3170 03/21                            52180-0000        0001426734.              3/1/2021     3/1/2021      2,420.72            0.00    2,420.72

                                                                                                                Check Total:   2,420.72            0.00    2,420.72

152          5/12/2021     05/21      WASTERES           Waste Resources, Inc.
 200PMO     028433 3180 03/21                            52180-0000        0001426735.              3/1/2021     3/1/2021       523.92             0.00     523.92

                                                                                                                Check Total:    523.92             0.00     523.92

153          5/12/2021     05/21      WASTERES           Waste Resources, Inc.
 200PMO     020938 3100 3/1-3/15/21                      52180-0000        0001431338               3/15/2021    3/15/2021     3,237.92            0.00    3,237.92
 200PMI     020938 3100 3/1-3/15/21                      52180-0000        0001431338               3/15/2021    3/15/2021     1,892.67            0.00    1,892.67

                                                                                                                Check Total:   5,130.59            0.00    5,130.59

154          5/12/2021     05/21      WASTERES           Waste Resources, Inc.
 200PMO     028432 3102 04/21                            52180-0000        0001443013               4/1/2021     4/1/2021      2,420.72            0.00    2,420.72
 200PMO     028432 3102 04/21                            73400-0000        0001443013               4/1/2021     4/1/2021         18.80            0.00       18.80

                                                                                                                Check Total:   2,439.52            0.00    2,439.52

155          5/12/2021     05/21      WASTERES           Waste Resources, Inc.
 200PMO     028433 3170 04/21                            52180-0000        0001443014               4/1/2021     4/1/2021      2,612.32            0.00    2,612.32
 200PMO     028433 3170 04/21                            73400-0000        0001443014               4/1/2021     4/1/2021         22.90            0.00       22.90
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                                                                                                                   Check Total:   2,635.22            0.00    2,635.22

156          5/12/2021     05/21        WASTERES           Waste Resources, Inc.
 200PMO     028433 3180 04/21                              52180-0000        0001443015                4/1/2021     4/1/2021       523.92             0.00     523.92
 200PMO     028433 3180 04/21                              73400-0000        0001443015                4/1/2021     4/1/2021         1.06             0.00       1.06

                                                                                                                   Check Total:    524.98             0.00     524.98

157          5/12/2021     05/21        WASTERES           Waste Resources, Inc.
 200PMO     020938 3100 3/18-3/29/21                       52180-0000        0001443420                3/31/2021    3/31/2021     3,064.19            0.00    3,064.19
 200PMI     020938 3100 3/18-3/29/21                       52180-0000        0001443420                3/31/2021    3/31/2021     1,791.13            0.00    1,791.13

                                                                                                                   Check Total:   4,855.32            0.00    4,855.32

158          5/12/2021    05/21         WASTERES           Waste Resources, Inc.
 200PMO     024760 11301 04/21                             52180-0000        000144881                 4/1/2021     4/1/2021       478.40             0.00     478.40
 200PMO     024760 11301 04/21                             73400-0000        000144881                 4/1/2021     4/1/2021         0.48             0.00       0.48

                                                                                                                   Check Total:    478.88             0.00     478.88

159          5/12/2021      05/21       WOOSPOOL           Woo's Pool Service
 200PMO     Fountain Cleaning 04/21                        50620-0000         04262021                 4/26/2021    4/26/2021      820.43             0.00     820.43
 200PMI     Fountain Cleaning 04/21                        50620-0000         04262021                 4/26/2021    4/26/2021      479.57             0.00     479.57

                                                                                                                   Check Total:   1,300.00            0.00    1,300.00

160          5/12/2021   05/21          YESP&B             Yes Printing and Banner Inc
 200PMC     Plamex Env#9                                   73020-0000         A21036                   4/23/2021    4/23/2021      189.73             0.00     189.73

                                                                                                                   Check Total:    189.73             0.00     189.73

161          5/12/2021      05/21       YOUNGELC           Young Electric Sign Company
 200PMO     Imperial Sign Maint 04/21                      50700-0000         INY-0281346              4/1/2021     4/1/2021       157.78             0.00     157.78
 200PMI     Imperial Sign Maint 04/21                      50700-0000         INY-0281346              4/1/2021     4/1/2021        92.22             0.00      92.22

                                                                                                                   Check Total:    250.00             0.00     250.00

162          5/12/2021      05/21       YOUNGELC           Young Electric Sign Company
 200PMO     P-Lot Lights Maint 04/21                       50210-0000         INY-0281393              4/1/2021     4/1/2021       567.99             0.00     567.99
 200PMI     P-Lot Lights Maint 04/21                       50210-0000         INY-0281393              4/1/2021     4/1/2021       332.01             0.00     332.01
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                                                                                                                   Check Total:     900.00            0.00      900.00

163          5/12/2021      05/21      YOUNGELC           Young Electric Sign Company
 200PML     LB Sign Maint 04/21                           50700-0000         INY-0281430               4/1/2021     4/1/2021        250.00            0.00      250.00

                                                                                                                   Check Total:     250.00            0.00      250.00

164          5/12/2021      05/21      YOUNGELC           Young Electric Sign Company
 200PML     P-Lot Lights Maint 04/21                      50210-0000         INY-0281431               4/1/2021     4/1/2021        700.00            0.00      700.00

                                                                                                                   Check Total:     700.00            0.00      700.00

165          5/12/2021       05/21     BETTERBE           Better & Best Building Service Inc
 200PMO     Janitorial 03/21                              22620-0000          12303.                   3/15/2021    3/15/2021     24,321.96           0.00    24,321.96
 200PMI     Janitorial 03/21                              22620-0000          12303.                   3/15/2021    3/15/2021     14,217.04           0.00    14,217.04
 200PMI     Sweeping 03/21                                22620-0000          12303.                   3/15/2021    3/15/2021        806.78           0.00       806.78
 200PMO     Sweeping 03/21                                22620-0000          12303.                   3/15/2021    3/15/2021      1,380.22           0.00     1,380.22
 200PMI     PressureWash 03/21                            22620-0000          12303.                   3/15/2021    3/15/2021        885.36           0.00       885.36
 200PMO     PressureWash 03/21                            22620-0000          12303.                   3/15/2021    3/15/2021      1,514.64           0.00     1,514.64

                                                                                                                   Check Total:   43,126.00           0.00    43,126.00

166          5/12/2021       05/21      CHASECAR          Chase Card Services
 200PMC     PM office supply                              73020-0000        DC-D05.2021                4/17/2021    5/11/2021       122.31            0.00      122.31
 200PMO     Yelp MTM                                      53610-0000        DC-D05.2021                4/17/2021    5/11/2021       350.00            0.00      350.00
 200PMO     CricketWireless-Security Phone                50110-0000        DC-D05.2021                4/17/2021    5/11/2021        45.00            0.00       45.00

                                                                                                                   Check Total:     517.31            0.00      517.31

167          5/17/2021     05/21       900GPM             Greenland Property Management, LLC
 200PMI     PLX-IN Maint Crew 03/21                       22620-0000        03-2021IN.                 3/31/2021    3/31/2021      1,176.95           0.00     1,176.95

                                                                                                                   Check Total:    1,176.95           0.00     1,176.95

168          5/17/2021    05/21      900GPM               Greenland Property Management, LLC
 200PML     PLX-LTC Maint Crew 03/21                      22620-0000        03-2021ltc.                3/31/2021    3/31/2021      2,942.16           0.00     2,942.16

                                                                                                                   Check Total:    2,942.16           0.00     2,942.16

169          5/17/2021    05/21      900GPM               Greenland Property Management, LLC
 200PMO     PLX-OUT Maint Crew 03/21                      22620-0000        03-2021OUT.                3/31/2021    3/31/2021      2,942.16           0.00     2,942.16
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                                                                                                               Check Total:   2,942.16            0.00    2,942.16

170          5/17/2021    05/21      900GPM             Greenland Property Management, LLC
 200PML     PLX-IN Mgmt Fee 03/21                       22620-0000        IN202103.                3/31/2021    3/31/2021     8,407.59            0.00    8,407.59

                                                                                                               Check Total:   8,407.59            0.00    8,407.59

171          5/17/2021   05/21       900GPM             Greenland Property Management, LLC
 200PML     PLX-LTC Mgmt Fee 03/21                      22620-0000        LTC202103.               3/31/2021    3/31/2021     8,688.15            0.00    8,688.15

                                                                                                               Check Total:   8,688.15            0.00    8,688.15

172          5/17/2021   05/21     900GPM               Greenland Property Management, LLC
 200PMO     PLX-OUT Mgmt Fee 03/21                      22620-0000        OUT202103.               3/31/2021    3/31/2021     1,847.15            0.00    1,847.15

                                                                                                               Check Total:   1,847.15            0.00    1,847.15

173          5/17/2021    05/21      ABMBUILD           ABM Building Solution, LLC
 200PMI     AC Down-blows warm air                      51610-0000        16100919.                4/30/2021    4/30/2021      756.00             0.00     756.00
 200PMO     AC Down - Produce Mkt                       51610-0000        16100922.                4/30/2021    4/30/2021      682.00             0.00     682.00

                                                                                                               Check Total:   1,438.00            0.00    1,438.00

179          5/17/2021   05/21       CITYOFLY           City of Lynwood
 200PML     142577301_11383 3/1-4/30/21                 72710-0020        11383-050121             5/1/2021     5/1/2021       308.93             0.00     308.93

                                                                                                               Check Total:    308.93             0.00     308.93

180          5/17/2021   05/21       CITYOFLY           City of Lynwood
 200PMI     142450003_3100 3/1-4/30/21                  52150-0000        3100-050121              5/1/2021     5/1/2021      4,836.73            0.00    4,836.73

                                                                                                               Check Total:   4,836.73            0.00    4,836.73

181          5/17/2021   05/21       CITYOFLY           City of Lynwood
 200PMO     142456501_B8206 3/1-4/30/21                 72710-0020        B8206-050121             5/1/2021     5/1/2021       493.36             0.00     493.36

                                                                                                               Check Total:    493.36             0.00     493.36

182          5/17/2021     05/21      CITYOFLY          City of Lynwood
 200PMO     142455000 IR2 3/1-4/30/21                   52160-0000        IR2-050121               5/1/2021     5/1/2021       823.48             0.00     823.48
 200PMI     142455000 IR2 3/1-4/30/21                   52160-0000        IR2-050121               5/1/2021     5/1/2021       481.36             0.00     481.36
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                                                                                                              Check Total:   1,304.84            0.00    1,304.84

183          5/17/2021     05/21      CITYOFLY          City of Lynwood
 200PMO     142451000 IR3 3/1-4/30/21                   52160-0000        IR3-050121               5/1/2021    5/1/2021        838.50            0.00      838.50
 200PML     142451000 IR3 3/1-4/30/21                   52160-0000        IR3-050121               5/1/2021    5/1/2021      1,362.29            0.00    1,362.29

                                                                                                              Check Total:   2,200.79            0.00    2,200.79

184          5/17/2021     05/21      CITYOFLY          City of Lynwood
 200PML     142571504 IR4 3/1-4/30/21                   52160-0000        IR4-050121               5/1/2021    5/1/2021      1,987.23            0.00    1,987.23

                                                                                                              Check Total:   1,987.23            0.00    1,987.23

185          5/17/2021   05/21       CITYOFLY           City of Lynwood
 200PML     142577003_11391 3/1-4/30/21                 52150-0000        LTC-050121               5/1/2021    5/1/2021       414.98             0.00     414.98
 200PML     142576003_11331 3/1-4/30/21                 52150-0000        LTC-050121               5/1/2021    5/1/2021       442.64             0.00     442.64
 200PML     142571004_11205 3/1-4/30/21                 52150-0000        LTC-050121               5/1/2021    5/1/2021       396.53             0.00     396.53
 200PML     142595000_11247 3/1-4/30/21                 52150-0000        LTC-050121               5/1/2021    5/1/2021       345.82             0.00     345.82
 200PML     142592000_11225 3/1-4/30/21                 52150-0000        LTC-050121               5/1/2021    5/1/2021       382.70             0.00     382.70
 200PML     142565000_N6 3/1-4/30/21                    52150-0000        LTC-050121               5/1/2021    5/1/2021       474.92             0.00     474.92
 200PML     142590000_11221 3/1-4/30/21                 52150-0000        LTC-050121               5/1/2021    5/1/2021       318.15             0.00     318.15

                                                                                                              Check Total:   2,775.74            0.00    2,775.74

186          5/17/2021    05/21        CITYOFLY         City of Lynwood
 200PMO     142459701_3180 3/1-4/30/21                  52150-0000        OUT-050121               5/1/2021    5/1/2021        364.55            0.00      364.55
 200PMO     142456700_3150 3/1-4/30/21                  52150-0000        OUT-050121               5/1/2021    5/1/2021      2,872.48            0.00    2,872.48
 200PMO     142457002_3160 3/1-4/30/21                  52150-0000        OUT-050121               5/1/2021    5/1/2021        405.76            0.00      405.76
 200PMO     142459052_3170 3/1-4/30/21                  52150-0000        OUT-050121               5/1/2021    5/1/2021        465.69            0.00      465.69
 200PMO     142250000 Prod 3/1-4/30/21                  72710-0020        OUT-050121               5/1/2021    5/1/2021      1,576.87            0.00    1,576.87

                                                                                                              Check Total:   5,685.35            0.00    5,685.35

187          5/17/2021    05/21      DIRECTTV           DirecTV
 200PMO     DTVFoodCourts 5/8-6/7/21                    53610-0000        X210509                  5/9/2021    5/28/2021      179.99             0.00     179.99

                                                                                                              Check Total:    179.99             0.00     179.99

188          5/17/2021     05/21     HOMEDEPO           Home Depot Credit Services
 200PMI     25Ft Aluminum Duct                          51630-0000        615823390                5/7/2021    5/7/2021         25.15            0.00      25.15
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                                                                                                                  Check Total:      25.15            0.00       25.15

189           5/17/2021       05/21       ONETENEL        One Ten Electric
 200PMO     Install Outlet-Electrical Room                72530-0000         04.19.21.                4/19/2021    4/19/2021        250.00           0.00       250.00
 200PMO     B8206-Install Meter                           72530-0000         04.19.21.                4/19/2021    4/19/2021      1,100.00           0.00     1,100.00

                                                                                                                  Check Total:    1,350.00           0.00     1,350.00

190          5/18/2021     05/21       COUNTLAP           County of Los Angeles Public Health
 200PMO     Produce Walk-in Permit                        78990-0000        AR0064907.                6/18/2020    6/18/2020       405.00            0.00      405.00
 200PMO     Late Payment Penalty                          89550-0000        AR0064907.                6/18/2020    6/18/2020       208.58            0.00      208.58
 200PMO     Convenience Fee                               73400-0000        AR0064907.                6/18/2020    6/18/2020         0.49            0.00        0.49

                                                                                                                  Check Total:     614.07            0.00      614.07

191          5/24/2021      05/21      00000062           S.M. Foot Wear
 200PMI     Security Refund                               25625-0000         SMFO_0000001             5/20/2021    5/20/2021      4,800.00           0.00     4,800.00

                                                                                                                  Check Total:    4,800.00           0.00     4,800.00

192          5/24/2021     05/21       GALINDOJ           Jesus H. Galindo
 200PMO     Rem grease from sewer line                    51660-0000         0106120                  4/5/2021     4/5/2021        450.00            0.00      450.00
 200PMO     Rep Main Wtr Heater                           51110-0000         0106124                  5/13/2021    5/13/2021       480.00            0.00      480.00

                                                                                                                  Check Total:     930.00            0.00      930.00

193          5/24/2021       05/21     GTOSECUR           GTO Security
 200PML     Security 4/16-4/30/21                         50110-0000         PILTC043021              4/30/2021    4/30/2021      6,660.00           0.00     6,660.00

                                                                                                                  Check Total:    6,660.00           0.00     6,660.00

194          5/24/2021       05/21     GTOSECUR           GTO Security
 200PMO     Security 4/16-4/30/21                         50110-0000         PIPME043021              4/30/2021    4/30/2021     18,365.01           0.00    18,365.01
 200PMI     Security 4/16-4/30/21                         50110-0000         PIPME043021              4/30/2021    4/30/2021     10,734.99           0.00    10,734.99

                                                                                                                  Check Total:   29,100.00           0.00    29,100.00

195          5/24/2021     05/21       HOMEDEPO           Home Depot Credit Services
 200PMI     Drain Snake Cleaner                           50750-0000        615823333                 5/7/2021     5/7/2021          36.89           0.00        36.89
 200PMI     Drain Snake Cleaner                           50750-0000        615989357                 5/8/2021     5/8/2021         -36.89           0.00       -36.89
 200PMO     Drain Snake Cleaner                           50750-0000        615823333                 5/7/2021     5/7/2021          63.11           0.00        63.11
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200PMO      Drain Snake Cleaner                            50750-0000        615989357                 5/8/2021     5/8/2021        -63.11            0.00      -63.11
200PMI      Drain Snake Cleaner                            50750-0000        615989357                 5/8/2021     5/8/2021         44.82            0.00       44.82
200PMO      Drain Snake Cleaner                            50750-0000        615989357                 5/8/2021     5/8/2021         76.67            0.00       76.67

                                                                                                                   Check Total:    121.49             0.00     121.49

196          5/24/2021      05/21      HOMEDEPO            Home Depot Credit Services
 200PMO     New Toilet for RR by Produce                   51620-0000        617443064                 5/17/2021    5/17/2021      224.81             0.00     224.81

                                                                                                                   Check Total:    224.81             0.00     224.81

197          5/24/2021    05/21         MUZAK              Muzak
 200PMI     Mood Media 06/21                               50750-0000        56176997                  6/1/2021     6/1/2021       105.90             0.00     105.90

                                                                                                                   Check Total:    105.90             0.00     105.90

198          5/24/2021     05/21        POINTEXT           Point Exterminators Inc
 200PMI     COVID-19 Disinfection                          72530-0000         27666                    5/4/2021     5/4/2021       150.00             0.00     150.00

                                                                                                                   Check Total:    150.00             0.00     150.00

199          5/24/2021      05/21       RESCUERO           American Residential Services, LLC
 200PMO     Main Drain Line Clogged                        51630-0000        8102-501002               5/14/2021    5/14/2021     2,525.00            0.00    2,525.00

                                                                                                                   Check Total:   2,525.00            0.00    2,525.00

200          5/24/2021       05/21      RESCUERO           American Residential Services, LLC
 200PMO     Hydrojet all main drains                       51630-0000        8102-501004               5/19/2021    5/19/2021       750.00            0.00      750.00
 200PML     Hydrojet all main drains                       51630-0000        8102-501004               5/19/2021    5/19/2021       685.00            0.00      685.00
 200PMO     Hydrojet all main drains                       51630-0000        8102-501004               5/19/2021    5/19/2021     1,050.78            0.00    1,050.78
 200PMI     Hydrojet all main drains                       51630-0000        8102-501004               5/19/2021    5/19/2021       614.22            0.00      614.22

                                                                                                                   Check Total:   3,100.00            0.00    3,100.00

201           5/24/2021      05/21     SMARDANS            SMARDAN SUPPLY CO.
 200PMI     Parts for Women's RR - 2nd Flr                 51620-0000    S3671818.001                  5/6/2021     5/6/2021       327.60             0.00     327.60
 200PMO     install new cleanup line                       51630-0000    S3672072.001                  5/7/2021     5/7/2021        74.96             0.00      74.96

                                                                                                                   Check Total:    402.56             0.00     402.56

202          5/24/2021       05/21      CHASECAR           Chase Card Services
 200PMC     PM office supply                               73020-0000        DC-D06.2021               5/17/2021    6/11/2021      331.50             0.00     331.50
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Entity       Reference                  P.O. Number       Account Number   Invoice Number           Date           Due Date       Amount            Amount        Amount


200PMC      Yelp MTM                                      53610-0000       DC-D06.2021              5/17/2021     6/11/2021         350.00            0.00        350.00
200PMC      PM Security Phone                             50110-0000       DC-D06.2021              5/17/2021     6/11/2021          45.00            0.00         45.00

                                                                                                                 Check Total:       726.50            0.00        726.50

203          5/25/2021       05/21     ATT                AT&T
 200PML     639-0184 Utility Deposit                      19170-0091       0184-050421.             5/4/2021      5/4/2021          -299.85           0.00       -299.85
 200PML     639-0184 3200 5/4-6/3/21                      51650-0000       0184-050421              5/4/2021      5/26/2021          359.43           0.00        359.43
 200PML     639-0184 3200 5/4-6/3/21                      73400-0000       0184-050421              5/4/2021      5/26/2021           10.00           0.00         10.00

                                                                                                                 Check Total:         69.58           0.00         69.58

204          5/25/2021       05/21     ATT                AT&T
 200PMI     631-0048 Utility Deposit                      19170-0091       0048-051121.             5/11/2021     5/11/2021         -109.06           0.00       -109.06
 200PMI     631-0048 Elev 5/11-6/10/21                    51650-0000       0048-051121              5/11/2021     5/11/2021          109.26           0.00        109.26

                                                                                                                 Check Total:          0.20           0.00          0.20

205          5/25/2021       05/21   ATT                  AT&T
 200PMC     631-6789 Utility Deposit                      19170-0091       6789-051121.             5/11/2021     5/11/2021         -377.08           0.00       -377.08
 200PMC     631-6789 PM 5/11-6/10/21                      72220-0000       6789-051121              5/11/2021     5/11/2021          378.47           0.00        378.47

                                                                                                                 Check Total:          1.39           0.00          1.39

206          5/25/2021       05/21    ATT                 AT&T
 200PMO     605-5107 Utility Deposit                      19170-0091       5107-051021.             5/10/2021     5/10/2021         -181.05           0.00       -181.05
 200PMO     605-5107 3150 4/10-5/9/21                     51650-0000       5107-051021.             5/10/2021     5/10/2021          181.29           0.00        181.29
 200PMO     605-5107 3150 PAID                            51650-0000       5107-051021.             5/10/2021     5/10/2021         -109.38           0.00       -109.38
 200PMO     605-5107 3150 5/10-6/9/21                     51650-0000       5107-051021              5/10/2021     5/10/2021          205.13           0.00        205.13

                                                                                                                 Check Total:         95.99           0.00         95.99

                                                                                                              Axos Bank Total:   443,700.42           0.00    443,700.42


                                                                                                                 Grand Total:    443,700.42           0.00    443,700.42
               Case 8:21-bk-10958-ES                      Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22            Desc
                                                             OPERATING
                                                           Main Document ACCOUNT
                                                                            Page 22 of 61
                                                            BANK RECONCILIATION

                           Bank statement Date:                  5/1/2021-5/31/2021       Balance on Statement:   $   282,345.58

Plus deposits in transit (a):
                                                                      Deposit Date           Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                    0.00
Less Outstanding Checks (a):
                    Check Number                                       Check Date             Check Amount

                            Refer to the attached list                                              196,530.21




TOTAL OUTSTANDING CHECKS:                                                                                             196,530.21

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                                $85,815.37
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
                                                                           Page 3 of 16
                 Case 8:21-bk-10958-ES  Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22
                              UNITED STATES DEPARTMENT OF JUSTICE
                                                                                                                                                                 Desc
                                         Main Document    Page 23 of 61
                                              OFFICE OF THE UNITED STATES TRUSTEE
                                                CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                                 CHAPTER 11 (BUSINESS)

     PLAMEX INVESTMENT, LLC                                                            Case Number:             8:21-bk-10958-ES
                                                                                       Operating Report Number:           2
                                                                     Debtor.           For the Month Ending:           May-21

                                              I. CASH RECEIPTS AND DISBURSEMENTS
                                                 A. (RENT COLLECTIONS ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                                   0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                                        0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                               329,758.79

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing
   Accounts Receivable - Pre-filing
   General Sales
   Other (Specify)        Rent collections                                                                     998,685.75
   **Other (Specify)      Verify web pay credits                                                                     0.37

     TOTAL RECEIPTS THIS PERIOD:                                                                                                                    998,686.12

5. BALANCE:                                                                                                                                      1,328,444.91

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)   385,000.00
   Disbursements (from page 2)                      11,002.77

     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                            396,002.77

7. ENDING BALANCE:                                                                                                                                  932,442.14

8. Rent Collections Account Number(s):                                                 -0173
   Depository Name & Location:                                                         Axos Bank
                                                                                       (Operating Account opened on 4/15/2021)




* All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
    to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.




                                                                                           Page 1 of 16
                CaseTOTAL
                     8:21-bk-10958-ES  Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22
                          DISBURSEMENTS FROM RENT COLLECTIONS ACCOUNT FOR CURRENT PERIOD
                                                                                                                                              Desc
                                        Main Document     Page 24 of 61
   Date             Check          Payee or DIP                                                          *Amount                **Amount
 mm/dd/yyyy        Number             account                         Purpose                           Transfered              Disbursed      Amount
     5/10/2021                                           Chargeback-returned check                                                 3,500.00       3,500.00
     5/10/2021                                           Chargeback-returned check                                                 7,500.00       7,500.00
     5/12/2021                 Square Inc                Web pay verify                                                                0.01           0.01
     5/12/2021                 Paypal                    Verify Bank                                                                   0.36           0.36
     5/17/2021                 Plamex                    Transfer to Operating                                                   385,000.00     385,000.00
     5/28/2021                                           Bank service charge                                                           2.40           2.40
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                                                                                                                                                      0.00
                                                                                                                                                      0.00
                                                                                                                                                      0.00
                                            TOTAL DISBURSEMENTS THIS PERIOD:                                      0.00           396,002.77    $396,002.77
* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.



                                                                             Page 2 of 16
               Case 8:21-bk-10958-ES                      Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22             Desc
                                                         RENT
                                                           MainCOLLECTIONS
                                                                Document     ACCOUNT
                                                                            Page 25 of 61
                                                            BANK RECONCILIATION

                           Bank statement Date:                  5/1/2021-5/31/2021       Balance on Statement:   $   932,442.14

Plus deposits in transit (a):
                                                                      Deposit Date           Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                     0.00
Less Outstanding Checks (a):
                    Check Number                                       Check Date             Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                     0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                                $932,442.14
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
                                                                           Page 3 of 16
         Case 8:21-bk-10958-ES Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22           Desc
                         I. CASH RECEIPTS AND DISBURSEMENTS
                                  Main Document  Page 26 of 61
                                   C. (TAX ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR TAX ACCOUNT REPORTS                                       0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX                                            0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                     0.00

4. RECEIPTS DURING CURRENT PERIOD:                                                        0.00
   (Transferred from Rent Collection Account)

5. BALANCE:                                                                               0.00

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                                    0.00

7. ENDING BALANCE:                                                                        0.00

8. TAX Account Number(s):                         -0199
   Depository Name & Location:                    Axos Bank
                                                  (Tax DIP Account opened on 4/15/2021)




                                                Page 7 of 16
       Case 8:21-bk-10958-ES Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22   Desc
          TOTAL DISBURSEMENTS   FROM
                              Main    TAX ACCOUNT
                                   Document          FOR
                                               Page 27    CURRENT PERIOD
                                                       of 61

  Date     Check
mm/dd/yyyy Number        Payee                         Purpose             Amount




                                   TOTAL DISBURSEMENTS THIS PERIOD:               0.00




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                Case 8:21-bk-10958-ES                         Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22           Desc
                                                               MainTAX ACCOUNTPage 28 of 61
                                                                    Document
                                                               BANK RECONCILIATION

                            Bank statement Date:                  5/1/2021-5/31/2021         Balance on Statement:   $    -

Plus deposits in transit (a):
                                                                           Deposit Date          Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                0.00

Less Outstanding Checks (a):
                    Check Number                                           Check Date            Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                               $    -

* It is acceptable to replace this form with a similar form                       Page 9 of 16
** Please attach a detailed explanation of any bank statement adjustment
         Case 8:21-bk-10958-ES Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                Desc
                         I. CASH RECEIPTS  AND DISBURSEMENTS
                                   Main Document  Page 29 of 61
                              C. (CORP CHECKING ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR CORP CHECKING ACCOUNT REPOR                                    0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR CORP CHECKING                                       0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                      1,788.79

4. RECEIPTS DURING CURRENT PERIOD:                                                             0.00
   (Closed pre-petition bank acount with Open Bank)

5. BALANCE:                                                                                1,788.79

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                                         0.00

7. ENDING BALANCE:                                                                         1,788.79

8. CORP CHECKING Account Number(s):                   -0207
   Depository Name & Location:                        Axos Bank
                                                      (Corp Checking DIP Account opened on 4/15/2021)




                                                  Page 7 of 16
       Case 8:21-bk-10958-ES Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22 Desc
     TOTAL DISBURSEMENTS FROM   CORP
                              Main    CHECKING
                                   Document      ACCOUNT
                                               Page 30 of 61FOR CURRENT PERIOD

  Date     Check
mm/dd/yyyy Number        Payee                         Purpose            Amount




                                   TOTAL DISBURSEMENTS THIS PERIOD:            0.00




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                Case 8:21-bk-10958-ES                         Doc 111           Filed 06/30/21     Entered 06/30/21 17:14:22   Desc
                                                             CORP
                                                              MainCHECKING
                                                                   Document ACCOUNT
                                                                              Page 31 of 61
                                                              BANK RECONCILIATION

                            Bank statement Date:                  5/1/2021-5/31/2021         Balance on Statement:   $     1,788.79

Plus deposits in transit (a):
                                                                           Deposit Date          Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                      0.00

Less Outstanding Checks (a):
                    Check Number                                           Check Date            Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                      0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                               $     1,788.79

* It is acceptable to replace this form with a similar form                       Page 9 of 16
** Please attach a detailed explanation of any bank statement adjustment
                Case 8:21-bk-10958-ES Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                                                     Desc
                                    I. D SUMMARY   SCHEDULE
                                          Main Document     OF 32
                                                         Page  CASH
                                                                  of 61
ENDING BALANCES FOR THE PERIOD:
                               (Provide a copy of monthly account statements for each of the below)


                                                                  Operating Account:                                  85,815.37
                                                            Rent Collections Account:                                932,442.14
                                                                        Tax Account:                                       0.00
                                                             Corp Checking Account                                     1,788.79
    *Other Accounts:              Wells Fargo Lockbox Acct controlled by lender                                      105,126.89


       *Other Monies:
                                                          **Petty Cash (from below):                                          500.00

TOTAL CASH AVAILABLE:                                                                                                                  1,125,673.19


Petty Cash Transactions:
        Date                                  Purpose                                                             Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                                 0.00


* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions




                                                                                  Page 10 of 16
          Case 8:21-bk-10958-ES     Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22       Desc
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                                                      Date 5/28/21           Page      1
                                                      Primary Account               0181


         Plamex Investment, LLC
         Debtor in Possession,
          Case # 8:21-bk-10958-ES, Operating
         6988 Beach Blvd, Suite B-215
         BUENA PARK CA 90621




 Account Title:            Plamex Investment, LLC
                           Debtor in Possession,
                            Case # 8:21-bk-10958-ES, Operating
 Basic Business Checking                       Number of Enclosures                 72
 Account Number                        0181    Statement Dates   5/03/21 thru 5/31/21
 Previous Balance                226,611.84    Days in the statement period         29
     2 Deposits/Credits          385,160.00    Avg Daily Ledger             310,838.38
    99 Checks/Debits             329,426.26    Avg Daily Collected          310,838.38
 Maintenance Fee                        .00
 Interest Paid                          .00
 Ending Balance                  282,345.58


DEPOSITS AND OTHER CREDITS
 Date        Description                                    Amount
  5/17       From DDA *0173,To DDA *0181,Fu             385,000.00
             nd OP
  5/26       SENDER      NEWBRIDGE WIRELE                   160.00
             CTX 113000029092593

CHECKS AND WITHDRAWALS
 Date        Description                                    Amount
  5/13       PAID SCGC SO CAL GAS                           576.83-
             WEB 122000497843286
             301601474168385639
             1841295142
         Case 8:21-bk-10958-ES   Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22   Desc
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                                                   Date 5/28/21      Page      2
                                                   Primary Account          0181




 Basic Business Checking                    0181    (Continued)
CHECKS AND WITHDRAWALS
 Date      Description                                   Amount
  5/13     INSURANCE FIRST INSURANCE                  13,277.26-
           WEB 071925334071375
           Plamex Investment, LLC
           900-93259638
  5/14     BILL PYMNT ACHMA VISB                          60.08-
           WEB 021000023095715
           GA *YOUNG
           4233716
  5/20     Payment     ATT                                72.88-
           WEB 031100202879304
           Diana Kwak
           194786004MYW9N
  5/20     Payment     ATT                               104.47-
           WEB 031100202879189
           Diana Kwak
           193809004MYW9N
  5/20     Payment     ATT                               107.20-
           WEB 031100202871135
           Diana Kwak
           852924004MYW9B
  5/20     Payment     ATT                               107.28-
           WEB 031100202879260
           Diana Kwak
           194373004MYW9N
  5/20     Payment     ATT                               109.33-
           WEB 031100202879173
           Diana Kwak
           193644004MYW9N
  5/20     Payment     ATT                               109.38-
           WEB 031100202879235
           Diana Kwak
           194159004MYW9N
  5/20     Payment     ATT                               114.01-
           WEB 031100202878637
           Diana Kwak
           187819004MYW9N
  5/20     Payment     ATT                               181.29-
           WEB 031100202879167
           Diana Kwak
           193545004MYW9N
         Case 8:21-bk-10958-ES    Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22   Desc
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                                                    Date 5/28/21      Page      3
                                                    Primary Account          0181




 Basic Business Checking                     0181    (Continued)
CHECKS AND WITHDRAWALS
 Date      Description                                    Amount
  5/20     Payment     ATT                                299.85-
           WEB 031100202879184
           Diana Kwak
           193726004MYW9N
  5/20     Payment     ATT                                378.39-
           WEB 031100202878568
           Diana Kwak
           187025004MYW9N
  5/20     3103667600 WASTE RESOURCE                      478.88-
           WEB 242071754669746
           PLAMEX INVESTMENT, LLC
           1678173744
  5/20     ENVHEALTH LA COUNTY                            614.07-
           CCD 021000026635253
           PLAMEX INVESTMENT LLC
  5/20     3103667600 WASTE RESOURCE                      957.23-
           WEB 242071754669737
           PLAMEX INVESTMENT, LLC
           1678165226
  5/20     3103667600 WASTE RESOURCE                      957.23-
           WEB 242071754669738
           PLAMEX INVESTMENT, LLC
           1678165610
  5/20     3103667600 WASTE RESOURCE                    2,944.64-
           WEB 242071754669745
           PLAMEX INVESTMENT, LLC
           1678173344
  5/20     3103667600 WASTE RESOURCE                    3,160.20-
           WEB 242071754669743
           PLAMEX INVESTMENT, LLC
           1678167386
  5/20     3103667600 WASTE RESOURCE                    3,469.87-
           WEB 242071754669739
           PLAMEX INVESTMENT, LLC
           1678166006
  5/20     3103667600 WASTE RESOURCE                    4,855.32-
           WEB 242071754669744
           PLAMEX INVESTMENT, LLC
           1678170864
  5/20     3103667600 WASTE RESOURCE                    4,860.24-
           WEB 242071754669741
          Case 8:21-bk-10958-ES        Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22   Desc
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                                                          Date 5/28/21      Page      4
                                                          Primary Account          0181




  Basic Business Checking                          0181    (Continued)
CHECKS AND WITHDRAWALS
  Date       Description                                        Amount
             PLAMEX INVESTMENT, LLC
             1678166682
   5/20      3103667600 WASTE RESOURCE                        5,130.59-
             WEB 242071754669736
             PLAMEX INVESTMENT, LLC
             1678163616
   5/20      BT0519      KONE INC                             6,416.55-
             CCD 028000082856647
             Plamex Investment, LLC
   5/24      E-CHECK     DE eCorp Tax                           300.00-
             CCD 031000031517153
             Plamex Investment LLC
   5/25      EPAY        CHASE CREDIT CRD                       517.31-
             WEB 021000020765265
             DONALD CHAE
             5305213584
   5/26      Payment     ATT                                     69.58-
             WEB 031100203158864
             Diana Kwak
             318476003MYW9U

CHECKS IN SERIAL NUMBER ORDER
  Date Check No                          Amount Date Check No                  Amount
   5/13         1                        109.06 5/28         16              1,999.75
   5/13         2                        299.85 5/28         17              1,635.90
   5/13         3                        109.06 5/28         18              2,239.02
   5/13         4                        107.20 5/28         19              3,256.47
   5/13         5                        113.84 5/28         20                823.78
   5/13         6                        181.05 5/28         21              4,424.48
   5/13         7                        377.08 5/28         22                642.62
   5/12         8                         42.80 5/13         23                179.99
   5/13         9                        104.34 5/14         24                600.00
   5/13        10                        179.49 5/13         25                710.99
   5/28        11                        308.93 5/13         26              1,558.75
   5/28        12                      6,806.74 5/13         27             21,230.24
   5/28        13                        466.96 5/13         28              5,454.43
   5/28        14                        296.74 5/13         30*             3,462.70
   5/28        15                        542.98 5/14         32*                60.08
* Indicates Skip In Check Number Sequence
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                                                          Date 5/28/21      Page      5
                                                          Primary Account          0181




  Basic Business Checking                          0181    (Continued)
CHECKS IN SERIAL NUMBER ORDER
  Date Check No                          Amount Date Check No                   Amount
   5/18        33                        478.40 5/24         86              29,354.00
   5/18        34                        478.40 5/27         89*                214.99
   5/18        35                      1,973.48 5/24         90                 473.54
   5/18        36                      2,944.64 5/25        111*                136.88
   5/18        37                     10,000.00 5/25        112                 341.18
   5/18        38                      2,420.72 5/26        113                 550.00
   5/24        64*                       140.00 5/26        115*                150.00
   5/24        65                      5,083.00 5/26        116                 150.00
   5/24        66                     11,135.00 5/26        117                 660.00
   5/24        69*                       140.00 5/26        118                 660.00
   5/24        70                      5,083.00 5/24        123*              2,000.00
   5/24        71                     11,135.00 5/24        124               2,000.00
   5/24        72                     43,126.00 5/25        125                 223.06
   5/26        73                        431.25 5/25        141*                 36.18
   5/26        74                        704.09 5/27        142                 174.00
   5/25        76*                        40.00 5/25        143                 200.00
   5/25        79*                       655.99 5/27        161*                250.00
   5/26        80                        372.68 5/27        162                 900.00
   5/21        83*                     7,104.00 5/27        163                 250.00
   5/24        84                      6,641.50 5/27        164                 700.00
   5/24        85                     28,234.00 5/24        165              43,126.00
* Indicates Skip In Check Number Sequence


DAILY BALANCE INFORMATION
  Date                  Balance Date                 Balance Date               Balance
   5/03             226,611.84   5/18            544,521.08   5/26          308,278.94
   5/12             226,569.04   5/20            509,092.18   5/27          305,789.95
   5/13             178,536.88   5/21            501,988.18   5/28          282,345.58
   5/14             177,816.72   5/24            314,017.14
   5/17             562,816.72   5/25            311,866.54
                                            *** END OF STATEMENT ***
                 Case 8:21-bk-10958-ES       Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22               Desc
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Check 1    Date: 05/13    Amount: $109.06                    Check 2    Date: 05/13    Amount: $299.85




Check 3    Date: 05/13    Amount: $109.06                    Check 4    Date: 05/13    Amount: $107.20




Check 5    Date: 05/13    Amount: $113.84                    Check 6    Date: 05/13    Amount: $181.05




Check 7    Date: 05/13    Amount: $377.08                    Check 8    Date: 05/12    Amount: $42.80




Check 9    Date: 05/13    Amount: $104.34                    Check 10    Date: 05/13    Amount: $179.49




Check 11    Date: 05/28    Amount: $308.93                   Check 12    Date: 05/28    Amount: $6,806.74
                Case 8:21-bk-10958-ES        Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22             Desc
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Check 13   Date: 05/28   Amount: $466.96                     Check 14   Date: 05/28   Amount: $296.74




Check 15   Date: 05/28   Amount: $542.98                     Check 16   Date: 05/28   Amount: $1,999.75




Check 17   Date: 05/28   Amount: $1,635.90                   Check 18   Date: 05/28   Amount: $2,239.02




Check 19   Date: 05/28   Amount: $3,256.47                   Check 20   Date: 05/28   Amount: $823.78




Check 21   Date: 05/28   Amount: $4,424.48                   Check 22   Date: 05/28   Amount: $642.62




Check 23   Date: 05/13   Amount: $179.99                     Check 24   Date: 05/14   Amount: $600.00
                Case 8:21-bk-10958-ES         Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22             Desc
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Check 25   Date: 05/13   Amount: $710.99                      Check 26   Date: 05/13   Amount: $1,558.75




Check 27   Date: 05/13   Amount: $21,230.24                   Check 28   Date: 05/13   Amount: $5,454.43




Check 30   Date: 05/13   Amount: $3,462.70                    Check 32   Date: 05/14   Amount: $60.08




Check 33   Date: 05/18   Amount: $478.40                      Check 34   Date: 05/18   Amount: $478.40




Check 35   Date: 05/18   Amount: $1,973.48                    Check 36   Date: 05/18   Amount: $2,944.64




Check 37   Date: 05/18   Amount: $10,000.00                   Check 38   Date: 05/18   Amount: $2,420.72
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Check 64   Date: 05/24   Amount: $140.00                      Check 65   Date: 05/24   Amount: $5,083.00




Check 66   Date: 05/24   Amount: $11,135.00                   Check 69   Date: 05/24   Amount: $140.00




Check 70   Date: 05/24   Amount: $5,083.00                    Check 71   Date: 05/24   Amount: $11,135.00




Check 72   Date: 05/24   Amount: $43,126.00                   Check 73   Date: 05/26   Amount: $431.25




Check 74   Date: 05/26   Amount: $704.09                      Check 76   Date: 05/25   Amount: $40.00




Check 79   Date: 05/25   Amount: $655.99                      Check 80   Date: 05/26   Amount: $372.68
                 Case 8:21-bk-10958-ES          Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                Desc
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Check 83    Date: 05/21    Amount: $7,104.00                    Check 84    Date: 05/24    Amount: $6,641.50




Check 85    Date: 05/24    Amount: $28,234.00                   Check 86    Date: 05/24    Amount: $29,354.00




Check 89    Date: 05/27    Amount: $214.99                      Check 90    Date: 05/24    Amount: $473.54




Check 111    Date: 05/25    Amount: $136.88                     Check 112    Date: 05/25    Amount: $341.18




Check 113    Date: 05/26    Amount: $550.00                     Check 115    Date: 05/26    Amount: $150.00




Check 116    Date: 05/26    Amount: $150.00                     Check 117    Date: 05/26    Amount: $660.00
                Case 8:21-bk-10958-ES         Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22               Desc
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Check 118   Date: 05/26   Amount: $660.00                     Check 123   Date: 05/24   Amount: $2,000.00




Check 124   Date: 05/24   Amount: $2,000.00                   Check 125   Date: 05/25   Amount: $223.06




Check 141   Date: 05/25   Amount: $36.18                      Check 142   Date: 05/27   Amount: $174.00




Check 143   Date: 05/25   Amount: $200.00                     Check 161   Date: 05/27   Amount: $250.00




Check 162   Date: 05/27   Amount: $900.00                     Check 163   Date: 05/27   Amount: $250.00




Check 164   Date: 05/27   Amount: $700.00                     Check 165   Date: 05/24   Amount: $43,126.00
     Case 8:21-bk-10958-ES
IMPORTANT DISCLOSURE TO OURDoc CONSUMER
                               111 Filed 06/30/21
                                          CUSTOMERSEntered 06/30/21 17:14:22                                                   Desc
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In Case of Errors or Questions About Your Electronic Transfers
In Case of Errors or Questions About Your Electronic Transfers, Telephone us at 1-888-502-2967 or Write us at the address on the front
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problem appeared.

       •   Tell us your name and account number (if any).
       •   Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or
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       •   Tell us the dollar amount of the suspected error.

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     • While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
     • We can apply any unpaid amount against your credit limit.

REPORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES
We may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may
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Systems, Attention Consumer Relations, 7805 Hudson Road, Suite 100, Woodbury, MN 55125. In order to assist you with your dispute,
you must provide your name, address and phone number; the account number; the specific information you are disputing; the explanation
of why it is incorrect; and any supporting documentation (i.e. affidavit of identity theft). If applicable.




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                                                     Date 5/28/21           Page      1
                                                     Primary Account               0173


         Plamex Investment, LLC
         Debtor in Possession,
         Case # 8:21-bk-10958-ES
         Rent Collections
         6988 Beach Blvd, Suite B-215
         BUENA PARK CA 90621




 Account Title:            Plamex Investment, LLC
                           Debtor in Possession,
                           Case # 8:21-bk-10958-ES
 Basic Business Checking                      Number of Enclosures                  0
 Account Number                        0173   Statement Dates   5/03/21 thru 5/31/21
 Previous Balance                329,758.79   Days in the statement period         29
    37 Deposits/Credits          998,686.12   Avg Daily Ledger             829,471.83
     5 Checks/Debits             396,000.37   Avg Daily Collected          803,140.05
 Maintenance Fee                       2.40
 Interest Paid                          .00
 Ending Balance                  932,442.14


SERVICE CHARGE ITEMIZATION
             Description                                     Amount
             Item Fee in Service Charge                      2.40

DEPOSITS AND OTHER CREDITS
 Date        Description                                   Amount
  5/03       CORP PAY    TORRES ENT                      1,566.53
             CCD 041001032001719
             PLAMEX INVESTMENT LLC
  5/03       4WALL_ACH JACK IN THE BOX                   6,057.72
             CCD 111000026770713
             PLAMEX INVESTMENT LLC
  5/03       DDA Regular Deposit                       111,723.07
  5/04       DDA Regular Deposit                        50,155.68
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                                                    Date 5/28/21      Page      2
                                                    Primary Account          0173




 Basic Business Checking                     0173    (Continued)
DEPOSITS AND OTHER CREDITS
 Date      Description                                    Amount
  5/06     DDA Regular Deposit                         13,642.57
  5/06     DDA Regular Deposit                        123,535.55
  5/07     Plamex      ADIR LLC                        79,245.76
           CCD 122232101113295
           Plamex Investment, Inc
  5/10     DDA Regular Deposit                          3,500.00
  5/10     DDA Regular Deposit                         15,152.13
  5/10     DDA Regular Deposit                         58,093.11
  5/10     DDA Regular Deposit                         82,066.01
  5/11     DDA Regular Deposit                         13,822.88
  5/11     DDA Regular Deposit                         77,838.61
  5/12     SDV-VRFY    Square Inc                            .01
           PPD 021000025783168
           Plamex Investment, LLC
  5/12     VERIFYBANK PAYPAL                                 .16
           PPD 091000010045182
           PLAMEX INVESTMENTS LL
  5/12     VERIFYBANK PAYPAL                                 .20
           PPD 091000010045183
           PLAMEX INVESTMENTS LL
  5/12     IMP01       EL GALLO GIRO61                  4,958.52
           CCD 121100783479439
           PLAMEX INVESTMENT LLC
  5/13     Wire Transfer Credit                         2,555.69
           BANCO SANTANDER SA
           (FRMLY BCO SANTANDER MEXICANO
           PASEO DE LA REFORMA 213/12TH F
           MEXICO CITY, MEXICO
           PAGO RENTA
           20210513B6B7HU4R014763
           20210513MMQFMP9N000431
           05131555FT03
  5/14     DDA Regular Deposit                          4,038.75
  5/14     DDA Regular Deposit                         14,200.46
  5/14     DDA Regular Deposit                         36,666.69
  5/14     DDA Regular Deposit                         52,136.94
  5/17     DDA Regular Deposit                         34,220.24
  5/18     DDA Regular Deposit                         13,545.08
  5/20     Wire Transfer Credit                        19,636.32
           PNC BANK NATIONAL ASSOC
         Case 8:21-bk-10958-ES    Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22   Desc
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                                                    Date 5/28/21      Page      3
                                                    Primary Account          0173




 Basic Business Checking                     0173    (Continued)
DEPOSITS AND OTHER CREDITS
 Date      Description                                    Amount
           300 5TH AVE
           PITTSBURGH PA 15222-2401
           PNC BANK, N.A.
           FIRSTSIDE CENTER
           500 FIRST AVENUE
           PITTSBURGH PA 15219 US
           POSSESSION CASE NUMBER 8 21 BK
           8 ES RENT COLLECTIONS
           20210520MMQFMPNB007418
           20210520MMQFMP9N000256
           05201320FT03
  5/20     INVOICE     THE KROGER CO.                  58,184.70
           CTX 042000016108304
           ST*820*100067752\
           BPR*X*000000000058184.70*C*ACH
           *CTX*01*042205038*DA*153910773
  5/21     Deposit                                      7,900.00
  5/21     DDA Regular Deposit                         10,945.80
  5/21     DDA Regular Deposit                         15,304.82
  5/21     DDA Regular Deposit                         15,746.03
  5/24     PAYMENTS    The Childrens Pl                13,600.48
           CTX 021000024882449
           ST*820*000024775\
           BPR*C*13600.48*C*ACH*CTX*01*02
           1000021*DA*865357727*900035772
  5/24     DDA Regular Deposit                         11,690.12
  5/27     26531       OPORTUN, INC.                    3,402.30
           CCD 111000026770924
           PLAMEX INVESTMENT, LLC
           REF*TN**26531\
           TRN*1*199333**199333\
  5/27     TRADE PAY CHARTER COMM OP,                  18,087.62
           CTX 042000012776903
           ST*820*0363\
           BPR*C*18087.62*C*ACH*CTX*01*08
           1517693*DA*152321045584*101234
  5/27     DDA Regular Deposit                          4,946.66
  5/28     AP PMT      Dolex AP                         5,193.69
           PPD 242071750021673
           PLAMEX INVESTMENT LLC
         Case 8:21-bk-10958-ES       Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22   Desc
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                                                       Date 5/28/21      Page      4
                                                       Primary Account          0173




 Basic Business Checking                        0173    (Continued)
DEPOSITS AND OTHER CREDITS
 Date      Description                                       Amount
  5/28     PAYABLES    PALO VERDE INC.                    15,325.22
           PPD 091000014446584
           PLAMEX INVESTMENT LLC

CHECKS AND WITHDRAWALS
 Date      Description                                       Amount
  5/10     Chargeback 1023                                 3,500.00-
  5/10     Chargeback 1609                                 7,500.00-
  5/12     SDV-VRFY    Square Inc                               .01-
           WEB 021000025779542
           Plamex Investment, LLC
           T200367154797
  5/12     VERIFYBANK PAYPAL                                    .36-
           PPD 091000010072377
           PLAMEX INVESTMENTS LL
  5/17     From DDA *0173,To DDA *0181,Fu                385,000.00-
           nd OP
  5/28     Service Charge                                      2.40-SC

DAILY BALANCE INFORMATION
 Date                Balance Date                 Balance Date               Balance
  5/03           449,106.11   5/12            960,116.93   5/21          860,198.45
  5/04           499,261.79   5/13            962,672.62   5/24          885,489.05
  5/06           636,439.91   5/14          1,069,715.46   5/27          911,925.63
  5/07           715,685.67   5/17            718,935.70   5/28          932,442.14
  5/10           863,496.92   5/18            732,480.78
  5/11           955,158.41   5/20            810,301.80
                                         *** END OF STATEMENT ***
     Case 8:21-bk-10958-ES
IMPORTANT DISCLOSURE TO OURDoc CONSUMER
                               111 Filed 06/30/21
                                          CUSTOMERSEntered 06/30/21 17:14:22                                                   Desc
                            Main Document    Page 49 of 61
In Case of Errors or Questions About Your Electronic Transfers
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                                                      Date 5/28/21              Page      1
                                                      Primary Account                  0199


         Plamex Investment, LLC
         Debtor in Possession,
         Case # 8:21-bk-10958-ES, Tax
         6988 Beach Blvd, Suite B-215
         BUENA PARK CA 90621




 Account Title:            Plamex Investment, LLC
                           Debtor in Possession,
                           Case # 8:21-bk-10958-ES, Tax
 Basic Business Checking                       Number of Enclosures                    0
 Account Number                         0199   Statement Dates   5/03/21 thru    5/31/21
 Previous Balance                        .00   Days in the statement period           29
       Deposits/Credits                  .00   Avg Daily Ledger                      .00
       Checks/Debits                     .00   Avg Daily Collected                   .00
 Maintenance Fee                         .00
 Interest Paid                           .00
 Ending Balance                          .00


DAILY BALANCE INFORMATION
 Date                  Balance
  5/03                    .00
                                          *** END OF STATEMENT ***
     Case 8:21-bk-10958-ES
IMPORTANT DISCLOSURE TO OURDoc CONSUMER
                               111 Filed 06/30/21
                                          CUSTOMERSEntered 06/30/21 17:14:22                                                   Desc
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                                                    Date 5/28/21          Page      1
                                                    Primary Account              0207


         Plamex Investment, LLC
         Debtor in Possession,
         Case # 8:21-bk-10958-ES, Checking
         6988 Beach Blvd, Suite B-215
         BUENA PARK CA 90621




 Account Title:            Plamex Investment, LLC
                           Debtor in Possession,
                           Case # 8:21-bk-10958-ES, Checking
 Basic Business Checking                     Number of Enclosures                 0
 Account Number                       0207   Statement Dates   5/03/21 thru 5/31/21
 Previous Balance                 1,788.79   Days in the statement period        29
       Deposits/Credits                .00   Avg Daily Ledger              1,788.79
       Checks/Debits                   .00   Avg Daily Collected           1,788.79
 Maintenance Fee                       .00
 Interest Paid                         .00
 Ending Balance                   1,788.79


DAILY BALANCE INFORMATION
 Date                 Balance
  5/03              1,788.79
                                         *** END OF STATEMENT ***
     Case 8:21-bk-10958-ES
IMPORTANT DISCLOSURE TO OURDoc CONSUMER
                               111 Filed 06/30/21
                                          CUSTOMERSEntered 06/30/21 17:14:22                                                   Desc
                            Main Document    Page 53 of 61
In Case of Errors or Questions About Your Electronic Transfers
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       •   Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or
           why you need more information.
       •   Tell us the dollar amount of the suspected error.

We will tell you all the results of our investigation within 10 business days and will correct any error promptly. If we need more time, we may
take up to 45 days to investigate your complaint. In that case, we will provisionally credit your account for the amount you think is in error, so
that you may have use of the money during the time it takes us to complete our investigation. For transfers initiated outside the United States
or transfers resulting from a point of sale (POS) debit card transactions, the time period for provisional credit is 10 business days and the
time to resolve the investigation is 90 days.


IMPORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS
Errors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and
regulations governing such transactions, including the rules of the Automated Clearing House Association (NACHA Rules) as may be
amended from time to time. If you think this statement is wrong, please telephone us at the number listed on the front of this statement
immediately.


For our 24-hour Automated Banking System, please call the number located on the front of the Statement.
CONSUMER BILLING RIGHTS S UMMARY REGARDING YOUR RESERVE LINE

What to do if you think you find a mistake on your statement:
Contact us at the address shown on the front of this statement as soon as you can, if you think your statement or receipt is wrong
or if you need more information about a transfer on the statement or receipt. We must hear from you within 60 days after the error
appeared on your statement.
       • Tell us your name and account number.
       • Tell us the dollar amount of the suspected error.
       • Describe the error you are unsure about, and explain as clearly as you can why you believe there is an error or why you need
           more information.

You must notify us of any potential errors in writing or electronically. You may call us, but if you do, we are not required to investigate
any potential errors and you may have to pay the amount in question.
While we investigate whether or not there has been an error, the following are true:
     • We cannot try to collect the amount in question,or report you as delinquent on that amount.
     • The amount in question may remain on your statement, and we may continue to charge you interest on that amount. But,
         if we determine that we made a mistake,you will not have to pay the amount in question or other fees related to that amount.
     • While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
     • We can apply any unpaid amount against your credit limit.

REPORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES
We may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may
be reflected in your credit report.

CONSUMER REPORT DISPUTES
We may report information about negative account activity on consumer and small business deposit accounts and consumer reserve lines
to Consumer Reporting Agencies (CRA). As a result, this may prevent you from obtaining services at other financial institutions. If you
believe we have inaccurately reported information to a CRA, you may submit a dispute by calling 1-800-428-9623 or by writing to Chex
Systems, Attention Consumer Relations, 7805 Hudson Road, Suite 100, Woodbury, MN 55125. In order to assist you with your dispute,
you must provide your name, address and phone number; the account number; the specific information you are disputing; the explanation
of why it is incorrect; and any supporting documentation (i.e. affidavit of identity theft). If applicable.




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DEP 950 (10/18)
         Case 8:21-bk-10958-ES Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                   Desc
                   II. STATUS OF PAYMENTS  TO SECURED
                                 Main Document         CREDITORS,
                                                 Page 54 of 61    LESSORS
                         AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                                        Post-Petition
                             Frequency of Payments                   payments not made
  Creditor, Lessor, Etc.           (Mo/Qtr)        Amount of Payment     (Number)                 Total Due




                                                                              TOTAL DUE:                      0.00


                                             III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                            Gross Sales Subject to Sales Tax:
                                                                          Total Wages Paid:

                                                      Total Post-Petition                       Date Delinquent
                                                       Amounts Owing Amount Delinquent           Amount Due
                             Federal Withholding
                             State Withholding
                             FICA- Employer's Share
                             FICA- Employee's Share
                             Federal Unemployment
                             Sales and Use
                             Real Property
                    Other:
                                           TOTAL:                 0.00                 0.00




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                      IV. AGING OF ACCOUNTS
                                Main DocumentPAYABLE  AND
                                                Page 55     RECEIVABLE
                                                        of 61

                                                     *Accounts Payable        Accounts Receivable (gross)
                                                       Post-Petition         Pre-Petition    Post-Petition
                                     30 days or less        229,019.62          623,170.27       613,844.68
                                       31 - 60 days          45,027.69          638,970.53       284,942.03
                                       61 - 90 days                             529,484.83       519,692.61
                                      91 - 120 days                             470,808.01       468,571.80
                                     Over 120 days                            7,485,029.36     7,766,112.60
                                           TOTAL:           274,047.31        9,747,463.00     9,653,163.72

                                      V. INSURANCE COVERAGE

                                                                      Policy Expiration      Premium Paid
                                   Name of Carrier Amount of Coverage       Date             Through (Date)
                                                    $1,000,000 each
                                  Travelers-        occurrence/aggregate
                     CGL/Property 6300S408335       = $2,000,000                 2/15/2022         2/15/2022
                                                    $25,000,000 each
                                                    occurrence and
                                  Travelers-        aggregate=
                           Excess EX8R668903        $25,000,000                  2/15/2022         2/15/2022
                                                    Bldg=$54,010,000;
                                    Lloyd's-        Business Income=
                       Earthquake GLAG1003196       $28,000,000                  10/5/2020         10/5/2021
                                    Travelers-
              Crime (incl burglary) 105899756        $          100,000.00       2/15/2022         2/15/2022
         Others:           Property
                             Crime

                           VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                        (TOTAL PAYMENTS)

Quarterly Period       Total                                                                 Quarterly Fees
 Ending (Date)     Disbursements   Quarterly Fees          Date Paid         Amount Paid      Still Owing
                                                                                                       0.00
                                                                                                       0.00
                                                                                                       0.00
                                                                                                       0.00
                                                                                                       0.00
                                                                                                       0.00
                                                                                                       0.00
                                                                                                       0.00
                                                                                                       0.00
                                                                                                       0.00
                                                                                                       0.00
                                                                                                       0.00
                                                Page 12 of 16                                          0.00
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                                                         Main Document    Page 56 of 61                                                                         0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                         0.00                                                        0.00                       0.00

* Post-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report




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               Case 8:21-bk-10958-ES Doc 111 Filed 06/30/21 Entered 06/30/21 17:14:22                                       Desc
                             VII SCHEDULE
                                       MainOF COMPENSATION
                                            Document        PAID
                                                       Page 57    TO INSIDERS
                                                               of 61

                                                           Date of Order                                                     Gross
                                                            Authorizing                                                 Compensation Paid
             Name of Insider                               Compensation                  *Authorized Gross Compensation During the Month




                                     VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                           Date of Order
                                                            Authorizing                                                  Amount Paid
             Name of Insider                               Compensation                           Description           During the Month




                                                                            Page 13 of 16
* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)
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                                    Plamex Investment, LLC
                                        Balance Sheet
                                         May 31,2021
                                          (Unaudited)



    ASSETS

    REAL ESTATE
      Land                                                   $     5,154,974
      Building and Improvements                                   38,966,403
      Equipment and furniture                                        923,891
      Construction in Progress                                        34,000
                                                                  45,079,268
       Accumulated Depreciation                                  (19,090,450)
               Total real estate, net                             25,988,818

    OTHER ASSETS:
      Rent receivable, net                                        3,473,450
      Receivable from straightlining of rents                       250,666
      Cash in reserve accounts                                    4,594,003
      Cash & cash equivalents                                     1,125,673
      Due from affiliates, net                                   80,218,298
      Prepaid expenses and other assets                             807,209
      Deferred leasing costs, net                                   136,549
               Total other assets                                90,605,848

    TOTAL ASSETS                                             $   116,594,666

    LIABILITIES AND RETAINED EARNINGS

    LIABILITIES:
       Mortgage payable, net of deferred financing costs     $   105,974,178
       Tenant security deposits                                    1,186,267
       Other liabilities                                           1,493,942

                Total liabilities                                108,654,388

    Retained Earnings                                              7,940,279

    TOTAL LIABILITIES AND RETAINED EARNINGS                  $   116,594,666
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                                          Plamex Investment, LLC
                                           Statement of Operations
                                   For the five months ended May 31, 2021
                                                 (Unaudited)

                                                                            MTD              YTD

 Revenue :
     Rental income                                                  $         872,948    $   3,917,224
     Operating cost reimbursements                                            247,623        1,359,332
     Other income                                                             (90,522)          41,587
       Total rental income                                                  1,030,049        5,318,143

 Operating Expenses:
     Property operating expenses                                             260,877         1,408,379
     Real estate taxes                                                        67,388           336,940
     General and administrative expenses                                      18,955           113,810
        Total operating expenses                                             347,220         1,859,129

 Net operating income                                                        682,829         3,459 ,014

 Depreciation, amortization, other income (expense):
     Depreciation and amortization                                           (119,964)         (600,840)
     Interest expense, net                                                   (419,705)       (2,044,370)
     Bankruptcy filing fee                                                                       (1,738)
     Other income, net                                                       (194,936)         (194,625)
        Total                                                                (734,605)       (2,841,573)

 Net Income (Loss)                                                  $         (51,776)   $     617,441
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                               Plamex Investment, LLC
                               Statement of Cash Flows
                       For the five months ended May 31,2021
                                     (Unaudited)




 Cash Flows from Operating Activities :
           Net income                                          $    617,441

            Adjustments to reconcile net income (loss)
             to net cash used in operating activities:

             Depreciation expense of property and equipment         455,500
             Amortization of deferred loan fees                     129,110
             Amortization of deferred leasing commission             16,224


            (Increase) Decrease in :
              Rent receivable                                       321,442
              Restricted cash                                      (579,038)
              Prepaid expenses and other assets                    (196,485)
              Capitalized leasing commission                          1,599
              Capitalized loan costs

            Increase (Decrease) in:
              Accounts payable and other liabilities               (636,871)
              Tenant deposits                                        32,690


                       Total adjustments                           (455,829)
 Net cash provided by (used in) operating activities                161,612

 Cash Flows from Investing Activities:
            Capital expenditures
            (Increase) Decrease in due from affiliates, net         264,397
 Net cash provided by (used in) investing activities                264,397

 Net decrease in cash and cash equivalents                          426,009

 Cash and cash equivalent at January 1, 2021                        699,664

 Cash and cash equivalent at May 31, 2021                      $   1,125,673
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                                             XI. QUESTIONNAIRE
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                                                                                                            No    Yes
1. Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as have
   been authorized by the court? If "Yes", explain below:                                            X


                                                                                                            No    Yes
2. Has the debtor-in-possession during this reporting period provided compensation or remuneration
   to any officers, directors, principals, or other insiders without appropriate authorization? If "Yes",
   explain below:                                                                                           X


3. State what progress was made during the reporting period toward filing a plan of reorganization
   See #4 below.

4. Describe potential future developments which may have a significant impact on the case:
   The principals of the Debtor and its parent company, 3100 E. Imperial Investment, LLC, which is
   in its own chapter 11 bankruptcy case pending before this Court, have been and continue to be in
   active discussions with many very interested replacement lenders, investors, partners and buyers,
   and intend to move expeditiously towards proposing plans of reorganization and/or sale of assets
   pursuant to Section 363 of the Bankruptcy Code which are in the best interests of all constituents
   of their cases. The principals of the Debtor and 3100 E. Imperial Investment, LLC are diligently
   raising capital and have employed NAI Capital Commercial, Inc., a commercial real estate
   brokerage firm, to explore the marketplace for potential sale and other financial and joint venture
   opportunities.
5. Attach copies of all Orders granting relief from the automatic stay that were entered during the
   reporting period.
                                                                                                            No    Yes
6. Did you receive any exempt income this month, which is not set forth in the operating report? If
   "Yes", please set forth the amounts and sources of the income below.                                     X




I,   Luis Valenzuela, Executive Vice President for Manager of Debtor, M+D Properties
     declare under penalty of perjury that I have fully read and understood the foregoing debtor-in-
     possession operating report and that the information contained herein is true and complete to the
     best of my knowledge.




       2021/06/30
      ________________________                            ______________________________________________
      Date                                          Page 16 of 16            Principal for debtor-in-possession
